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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                       :
UNITED STATES SECURITIES AND           :
EXCHANGE COMMISSION                    :
                                       :
     Plaintiff,                        :
                                       :
v.                                     : No. 1:18-cv-8865-AJN-GWG
                                       :
ELON MUSK                              :
                                       :
     Defendant.                        :
                                       :

       UNITED STATES SECURITIES AND EXCHANGE COMMISSION’S
 REPLY MEMORANDUM TO DEFENDANT ELON MUSK’S RESPONSE TO ORDER
                         TO SHOW CAUSE
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          On September 27, 2018, the Commission charged Defendant Elon Musk with fraud for

recklessly making a series of false and misleading statements about Tesla that resulted in

significant market confusion and disruption. Two days later, Musk agreed to settle the case. This

Court ordered him to comply with a series of conditions, including that Musk submit certain of

his written communications about Tesla for pre-approval before publishing them. Dkt. No. 14, at

13-14.1

          The Court-ordered pre-approval requirement for Musk’s written communications lies at

the heart of the settlement. Musk’s unchecked and misleading tweets about Tesla are what

precipitated the SEC’s charges, and the pre-approval requirement was designed to protect against

reckless conduct by Musk going forward. It is therefore stunning to learn that, at the time of

filing of the instant motion, Musk had not sought pre-approval for a single one of the numerous

tweets about Tesla he published in the months since the Court-ordered pre-approval policy went

into effect. Many of these tweets were about the topics specifically identified by Tesla in its own

policies as potentially material to shareholders. Musk reads this Court’s order as not requiring

pre-approval unless Musk himself unilaterally decides his planned tweets are material. His

interpretation is inconsistent with the plain terms of this Court’s order and renders its pre-

approval requirement meaningless.

          Musk’s tweet at 7:15 PM ET on February 19, 2019 (the “7:15 tweet”) was a blatant

violation of this Court’s order. The statement that Tesla “will make around 500k” cars in 2019

plainly “contain[ed], or reasonably could [have] contain[ed], information material to the

Company or its shareholders.” See Dkt. No. 14, at 13-14. This is apparent from the immediate

response of Tesla’s Designated Securities Counsel, the person who was supposed to have

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       Page numbers in citations to docketed court filings are to the page numbers assigned by
the Court’s ECF system.
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reviewed this tweet before Musk published it. After seeing the published 7:15 tweet, the

Designated Securities Counsel “immediately arranged to meet with Musk” to draft a corrective

tweet (the “11:41 tweet”). Ex. 4, at 3. Had Musk simply complied with the Court’s order and

Tesla’s Court-ordered Senior Executives Communications Policy (“the Tesla Policy”), the

Designated Securities Counsel presumably would have caught his misstatement on the front end,

and Musk would not have again disseminated inaccurate information about Tesla to 25 million

people.

          Musk’s explanation for his failure to seek pre-approval of the 7:15 tweet has changed

even in the short time since he published it. Initially, Musk explained that, while his 7:15 tweet

had not been “individually pre-approved,” he “believed that the substance had already been

appropriately vetted, pre-approved, and publicly disseminated.” Ex. 4, at 3. Neither Musk nor

Tesla claimed at that time that Musk was not required to seek pre-approval because his tweet

could not have reasonably contained material information. See id. After the SEC filed its

motion, however, Musk pivoted to a different explanation. He now claims he did not seek pre-

approval because he determined prior to publication that his tweet could not have reasonably

contained material information. Dkt. No. 27, at 9-16. Musk’s contention—that the potential size

of a car company’s production for the year could not reasonably be material—borders on the

ridiculous. Musk’s shifting justifications suggest that there was never any good faith effort to

comply with the Court’s order and the Tesla Policy. Rather, Musk has simply elected to ignore

them.

          As Musk observes, requests by the SEC to hold a party in contempt are relatively rare.

Here, the SEC acted only after—following discussions with counsel—Musk admitted that he had

not sought pre-approval of the 7:15 tweet, which contained demonstrably material and inaccurate



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information about Tesla’s 2019 vehicle production, and then offered a purported justification that

ignored the plain language of the Court’s order and the Tesla Policy. Such brazen disregard of

this Court’s order is unacceptable and unworkable going forward. For the reasons set forth

below and in the SEC’s initial motion, the SEC requests that this Court hold Musk in contempt

and impose an appropriate remedy to ensure future compliance.

I.     Musk Violated this Court’s Order by Failing to Seek Pre-Approval of a Tweet
       Containing Information Material to Tesla and its Shareholders.

       The language of the Court’s order is clear: Musk must comply with Tesla’s mandatory

procedures requiring pre-approval before publishing tweets that contain or reasonably could

contain information material to Tesla and its shareholders. As of the filing of the SEC’s motion,

for a period of more than two months, Musk tweeted repeatedly about Tesla’s business but never

once sought pre-approval prior to publication.2 Musk’s disregard of the pre-approval process

culminated in the publication of the inaccurate 7:15 tweet to more than 25 million Twitter users.

       Confronted with these facts, Musk urges the Court to re-write the terms of its order and

evaluate whether his communications must be pre-approved based on a hindsight analysis of

whether they moved the market. This proposed standard is inconsistent with the Court’s order

and plainly unworkable because Musk will never know if the market is going to move until it

actually reacts to his statements. Musk’s proposed approach also incorrectly applies the



2
         The SEC requested additional information after filing the instant motion because it was
also concerned about Tesla’s compliance with its final judgment, which ordered Tesla to
“implement mandatory procedures and controls to oversee all of Elon Musk’s communications
regarding the Company . . . and to pre-approve any such written communications that contain, or
reasonably could contain, information material to the Company or its shareholders.” SEC v.
Tesla, Inc., 1:18-cv-8865-AJN-GWG, Dkt. No. 14, at 15. To that end, on February 24, 2019, the
SEC asked Musk and Tesla the straightforward question of whether Musk had sought or received
pre-approval for any tweets since the Policy was adopted. See Dkt. No. 27-6, at 2. The answer,
as it turns out, was simply “no,” but it took more than two weeks for Musk and Tesla to concede
as much. See Dkt. No. 27-8, at 6.
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materiality standard applicable in private securities fraud actions in lieu of the much broader pre-

approval standard contained in the Court’s order. See Dkt. No. 27, at 12.

       Had Musk sought to comply with the Court’s order, he would have sought pre-approval

of the 7:15 tweet, which contained new information about a key metric that has long been

important to Tesla’s business. Indeed, Musk offers no explanation of how he arrived at the

counterintuitive conclusion that pre-approval was not required. Conspicuously absent from

Musk’s submission is any citation to a prior public disclosure that Tesla would make around

500,000 cars in 2019. This is because no such disclosure had ever been made prior to the 7:15

tweet. This fact is alone sufficient to show that the 7:15 tweet reasonably could have contained

material information and required pre-approval before Musk published it. At bottom, Musk’s

tortured, post hoc explanation of why he should not be held in contempt is inconsistent with the

terms of this Court’s order and the Tesla Policy.

        A.     The Order Contains a Broad Pre-Approval Standard.

       The SEC asked this Court to approve its settlement with Musk because it included terms,

including the pre-approval requirement, that were tailored to prevent future violations of the type

alleged by the SEC against Musk in its original complaint, i.e., publicly disseminating

misleading or inaccurate information. See Dkt. No. 13, at 5-7. In keeping with this prophylactic

purpose, the plain language of this Court’s order and the Tesla Policy state that Musk is required

to seek pre-approval of any written communications that “contain or reasonably could contain”

information material to Tesla or its shareholders. See Dkt. No. 14, at 13-14; Ex. 1, at 1

(emphasis added).

       The standard for pre-approval of Musk’s communications is not the same as the

materiality standard that applies in SEC civil fraud actions, let alone the stringent requirements

applicable in private securities actions, as Musk’s argument implies. The SEC insisted on the
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pre-approval requirement that applies to all statements that contain or reasonably could contain

information material to Tesla or its shareholders so that Tesla would implement meaningful

controls on Musk’s communications to prevent any potentially fraudulent or erroneous

statements from being published in the first place.

        Musk’s citations to fraud actions brought by private securities plaintiffs are inapposite.

Unlike the statements at issue in those cases, Musk’s 7:15 tweet, “Tesla made 0 cars in 2011, but

will make around 500k in 2019,” was neither non-specific nor aspirational on its face. It stated,

without any qualifying language, that Tesla would produce a specific number of cars (“around

500k”) in a specific timeframe (the current year, 2019).3 Moreover, Musk’s claim that

statements about future performance are immaterial as a matter of law, and therefore need not be

pre-approved (Dkt. No. 27, at 12), is inconsistent with the plain language of the Tesla Policy,

which unambiguously includes “projections, forecasts, or estimates regarding Tesla’s business”

on its non-exhaustive list of subjects that may be material to Tesla or its shareholders. See Ex. 1,

at 1.

        Contrary to Musk’s suggestion, there is no carve-out from materiality for “celebratory”

statements that contain key numerical forecasts about a company’s business. Dkt. No. 27, at 11.

When Musk publishes a tweet with new information about an important Tesla metric, it must



3
        By contrast, the statements found to be immaterial in the cases cited by Musk were
clearly aspirational in nature. See, e.g., IBEW Local Union No. 58 Pension Tr. Fund & Annuity
Fund v. Royal Bank of Scotland Grp., PLC, 783 F.3d 383, 392 (2d Cir. 2015) (statement that
integration of another bank acquired by RBS was “off to a promising start” and that RBS’s
“positive view . . . has been confirmed” were immaterial statements of “general corporate
optimism”); City of Pontiac Policemen’s & Firemen’s Ret. Sys. v. UBS AG, 752 F.3d 173, 183
(2d Cir. 2014) (general statements about UBS’s “compliance, reputation, and integrity” that
included qualifiers such as “aims to,” “wants to,” and “should” were immaterial); In re IBM
Corp. Sec. Litig., 163 F.3d 102, 107 (2d Cir. 1998) (statement that IBM was not “concerned”
about covering its dividend payment to investors was too indefinite to be material for purposes of
private fraud action).
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first be submitted for pre-approval under the terms of the Court’s order and the Tesla Policy,

regardless of whether it was subjectively intended as a statement of “pride and optimism.” Id. at

12.

        B.     Tesla’s Production Forecasts Are Material to Tesla and its Shareholders.

       In addition to being specifically identified in the Tesla Policy as a potentially material

topic (Ex. 1, at 1), Tesla’s production forecasts have long been significant to market participants

who follow the company. See, e.g., Ex. 6, “1Q18 a Bit Better, but Model 3 Ramp Remains the

Story” (Deutsche Bank, May 3, 2018), at 1 (observing that “[i]nvestors’ main questions related

to the trajectory of Model 3 production,” along with two other focus areas). The forecasts are

important because research analysts incorporate their expectations of future production and

deliveries into revenue and profit forecasts and corresponding valuation models and price targets

for Tesla’s stock. See, e.g., Ex. 7, “Rollercoaster Ride with Model 3 Production Turning the

Corner; Initiating at OP” (Wedbush Securities, Dec. 13, 2018), at 1 (“Tesla Model 3 production

analysis we have built is the linchpin to our broader bull thesis and valuation on the company”

and emphasizing that “More Model 3 Production = Key to Cash Flow and Profitability Ramp”).

       Musk’s recognition of the significance of Tesla’s vehicle production forecasts to

investors is evidenced by the frequency with which he and Tesla highlight such forecasts in their

public statements. For years and continuing through the company’s most recent earnings release,

Tesla and Musk have prominently featured vehicle production forecasts in their public

communications, including Tesla’s investor letters, Musk’s tweets, and the company’s filings

with the SEC. While some companies emphasize forward-looking guidance on financial metrics

such as revenue and earnings per share, Tesla often highlights guidance regarding expected

production rates and deliveries. See, e.g., Ex. 5, at 5 (lead paragraph of “Outlook” section

highlights production forecasts). Given this focus on Tesla’s production capabilities, Musk
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cannot credibly argue that his statement, as Tesla’s CEO, that the company “will make around

500k” cars in 2019 could not have reasonably contained information material to Tesla and its

investors.

       C.      Musk’s 7:15 Tweet Was Materially Different from Prior Public Disclosures.

       Disputing the logical conclusion that new information about a critical company metric

reasonably could be material to Tesla’s shareholders, Musk claims that the 7:15 tweet “simply

was not ‘news.’” It is frankly difficult to follow Musk’s tortured analysis, which attempts to

cobble together information from various public statements by Tesla in January 2019 to arrive at

the post hoc conclusion that his 7:15 tweet was “within previously disclosed ranges.” Dkt. No.

27, at 10. Regardless, Musk’s arguments do not change the fact that, before the 7:15 tweet, Tesla

had never disclosed that it planned to make around 500,000 cars in 2019. Therefore, Musk was

required to obtain pre-approval before he published this statement.

       Prior to the 7:15 tweet, Tesla had not publicly disclosed any forecast of the total number

of vehicles it expected to produce in 2019. This should end the Court’s inquiry as to whether

Musk’s failure to seek pre-approval constituted a violation of the Court’s order. In the absence

of an affirmative forecast on this important topic, Musk’s tweet contained new information that

could reasonably have been material to Tesla and its shareholders.

       Tesla had, however, previously provided a clear forecast of total vehicle deliveries in

2019. Specifically, Tesla’s January 30, 2019 Fourth Quarter & Full Year Update (“Update

Letter”) stated, “In total, we are expecting to deliver 360,000 to 400,000 vehicles in 2019 . . . .”

Ex. 5, at 5 (emphasis added). Tesla included the same delivery forecast in the pre-approved

talking points for its January 30 earnings call. See Ex. 8 (internal Tesla email dated Jan. 30,

2019, produced in response to SEC’s request for pre-approved talking points); see also Dkt. No.



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27-8, at 7 (Tesla representing that these talking points were pre-approved in accordance with the

Tesla Policy). Evidently at a loss as to how to explain the material difference between the

company’s repeated deliveries guidance and his 7:15 tweet,4 Musk’s brief does not even mention

the deliveries guidance.

       Instead, Musk argues that his tweet could not reasonably have been material because

Tesla previously stated that it was “targeting” an annualized production rate in excess of 500,000

Model 3 vehicles sometime between Q4 of 2019 and Q2 of 2020. Ex. 5, at 5. This guidance was

also given in Tesla’s 2018 Form 10-K and during Tesla’s January 30 earnings call. Dkt. No 27-

3, at 5; Dkt. No. 27-4, at 3. But this was a qualified forecast (“targeting”) of Tesla’s expected

achievement of a production run rate (not of aggregate production) for a particular vehicle line5

at some future point in time (somewhere between late 2019 and the middle of 2020). On its face,

the 7:15 tweet—which stated that Tesla will make around 500,000 cars in 2019—was materially

different from Tesla’s production rate forecasts for Model 3.6



4
        While deliveries and production could differ somewhat, in recent periods, Tesla’s annual
deliveries have closely tracked annual production. In 2018, for example, according to the
company’s public statements, Tesla produced 254,530 vehicles and delivered 245,506 vehicles.
See Ex. 9 (excerpts of Tesla, Inc. Form 10-K filed with the SEC on Feb. 23, 2018, and Feb. 19,
2019), at 42. Similarly, in 2017, Tesla produced 101,027 vehicles and delivered approximately
103,184 vehicles. See id. at 39; Ex. 10 (compilation of Tesla’s quarterly vehicle and production
deliveries reports for 2017).
5
        Musk also obliquely references a public statement about Tesla’s Q4 2018 production
achievement and “long term run rate” for its Model S and Model X vehicles as somehow
supportive of his claim that the 7:15 tweet was immaterial. See Dkt. No. 27, at 10. The
purported significance of this backward-looking statement is difficult to discern from Musk’s
brief. Regardless, it does not change the fact that Tesla had not issued any guidance for total
2019 production as of the 7:15 tweet.
6
         Musk also claims he made a statement during the January 30 earnings call projecting
2019 Model 3 production “on the order of ‘350,000 to 500,000’ vehicles.” Dkt. No. 27, at 10. In
reality, Musk made no such production forecast during the earnings call. Instead, in remarks that
were not a part of Tesla’s pre-approved earnings call script, he made a cryptic reference to
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         The divergence between Musk’s 7:15 tweet and Tesla’s previous public statements is

evidenced by the swift reaction of Tesla’s Designated Securities Counsel to correct Musk’s 7:15

tweet. According to Musk and Tesla’s original version of the events of February 19:

         [u]pon seeing the 7:15 PM EST tweet, the Designated Securities Counsel
         immediately arranged to meet with Musk at the Fremont factory. Musk and the
         Designated Securities Counsel together drafted a clarifying tweet.

See Ex. 4, at 3. The subsequent 11:41 tweet indicated that the 7:15 had been inaccurate (“meant

to say”) and reiterated that both the deliveries forecast and Model 3 production rate forecasts

remained in effect. Decl. of Elon R. Musk (Dkt. No. 27-9), at ¶ 12 (“Meant to say annualized

production rate at end of 2019 probably around 500k, ie 10k cars/week. Deliveries for year still

estimated to be about 400k.”)

         None of the prior statements Musk points to contains a forecast of 2019 vehicle

production at all, much less a forecast of around 500,000 cars. As a result, Musk’s 7:15 tweet—

which stated that Tesla “will make 500k” cars in 2019—was reasonably likely to add to the total

mix of information available to investors at the time about a metric important to Tesla investors,

and Musk’s failure to submit the tweet for pre-approval before publishing it violated the Court’s

order.

   II.      Musk Has Not Diligently Attempted to Comply with the Court’s Order.

         Musk made no diligent or good faith effort to comply with the pre-approval provision of

the Court’s order. Musk failed to seek pre-approval of any of his Tesla-related tweets, from the


“350,000 to 500,000 Model 3s” after Tesla’s CFO made a comment about potential market size
for North America, Europe and Asia, following a question from an analyst relating to geographic
dispersion of Model 3 sales. See Dkt. No. 27-3, at 8. In the wake of the earnings call, multiple
research analysts observed that Musk’s murky remark was inconsistent with Tesla’s official
guidance. See, e.g., Ex. 11, “Leaving Intensive Care . . . Waiting for Revenues to Ramp”
(Evercore ISI, Jan. 31, 2019), at 2 (observing that Musk had made an “off-the-cuff” statement
about “‘350-500k Model 3s, something like that this year’ when the official total delivery
guidance is only 360-400k”).
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time Tesla implemented its Court-ordered Policy until the SEC filed this motion. Since Tesla

adopted the Policy on December 11, 2018, Musk has regularly published substantive information

about Tesla and its business in tweets and replies to other Twitter users’ tweets. In addition to

his February 19 tweet about 2019 production, Musk has tweeted about the following:

               Tesla vehicle tax credits and pricing,

               Tesla vehicle maintenance costs,

               Tesla’s plans for expansion of charging stations internationally,

               the EPA rating of Tesla vehicles,

               Tesla’s construction and production plans for a new Shanghai factory,

               Tesla’s refund policies,

               Whether Tesla plans to phase out its Model S and Model X vehicles in the future,

               The status of regulatory approvals for Tesla’s assisted driving features,

               The results of government safety testing of Tesla vehicles, and

               A response refuting a published report that Tesla had reached agreement with a

                Chinese company to supply batteries.

See Ex. 12 (screenshots of examples of Musk’s tweets).

       Musk has chosen to disregard the pre-approval requirement altogether by claiming that

the Court’s order and the Tesla Policy vested in him the exclusive authority to determine whether

a tweet could have reasonably contained information material to Tesla or its shareholders. See

Dkt. No. 27-9, at ¶ 6. Musk, however, does not identify any language in the order or the Tesla

Policy that grants him such discretion. Nor does he articulate any particular methodology or

process that he employs to determine that a tweet does not require pre-approval before




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publishing it. This is particularly troublesome given that it was Musk’s lack of judgment with

respect to public statements about Tesla that led to entry of the Court’s order in the first place.

       Instead of submitting his tweets for pre-approval, Musk stated that he relies on Tesla

counsel’s review of his tweets “upon publication” to ensure that he is compliant with the order

and the Policy. Id. at ¶ 7. It strains credulity that Musk could believe in good faith that he is

allowed to substitute post hoc review for the pre-approval requirement clearly set forth in the

Court’s order. While Musk professes to take seriously his obligations to comply with the Court’s

order and the Tesla Policy, his actions speak much more loudly: he has not diligently sought to

comply with either.

III.   The Court Has Authority to Enforce its Order and Compel Musk’s Compliance.

       Musk argues that unless he is granted complete discretion to determine whether his

written communications about Tesla require pre-approval, the Court’s order is unconstitutional

and exceeds the scope of the SEC’s authority. Dkt. No. 27, at 20-25. This frivolous argument

rests on a misapprehension of governing case law and on the false premise that the Court-ordered

pre-approval requirement prohibits his speech.

       A.      Musk Waived His Challenge to the Constitutionality of the Order by
               Consenting to its Entry.

       Musk admits that he consented to the order (id. at 23) in which he waived any First

Amendment rights that may be implicated by the pre-approval provision. See Democratic Nat’l

Comm. v. Republican Nat’l Comm., 673 F.3d 192, 205 (3d Cir. 2012) (even if court enforcement

of a consent judgment constitutes state action, “constitutional rights . . . may be contractually

waived where the facts and circumstances surrounding the waiver make it clear that the party

foregoing its rights has done so of its own volition, with full understanding of the consequences

of its waiver”). Further, “it is well-established that a party to a consent judgment is thereby


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deemed to waive any objections it has to matters within the scope of the judgment.” In re Refco

Inc., 505 F.3d 109, 120 (2d Cir. 2007) (internal quotation omitted).

       Musk’s argument that he consented to the terms of the Court’s order only because he

believed he had sole discretion to determine when the pre-approval requirement applied (Dkt.

No. 27-9, at ¶ 6) is inconsistent with the plain language of the Court’s order. The Court’s order

clearly mandates that Musk obtain pre-approval of written communications that contain or

reasonably could contain material information and states nowhere that this requirement is subject

to his discretion. Musk voluntarily waived the constitutional arguments he now advances. Dkt.

No. 6-1, at 4 (“Defendant enters into this Consent voluntarily”).

       B.      The Pre-Approval Requirement Does Not Implicate the First Amendment.

       Musk’s First Amendment argument also fails because it rests on the false premise that the

pre-approval requirement imposes a prior restraint on his speech. Dkt. No. 27, at 20-22.

Submitting his written statements for pre-approval does not, as Musk baldly asserts, mean that he

is prohibited from speaking. Dkt. No. 27, at 23. As long as a statement submitted for pre-

approval is not false or misleading, Tesla would presumably approve its publication without any

restraint on Musk. And if the proposed statement is false or misleading, then any restraint on

Musk’s speech would be constitutional even if it involved state action. See Romeo & Juliette

Laser Hair Removal, Inc. v. Assara I LLC, 679 F. App’x 33, 36-37 (2d Cir. 2017) (prohibition of

speech that is false, deceptive, or misleading does not violate First Amendment) (citing Safelite

Grp., Inc. v. Jepsen, 764 F.3d 258, 261 (2d Cir. 2014); Democratic Nat’l Comm., 673 F.3d at

204-05).

       Moreover, the First Amendment limits only state action, not private action. Cent.

Hardware Co. v. N.L.R.B., 407 U.S. 539, 547 (1972); Loce v. Time Warner Ent.



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Advance/Newhouse P’ship, 191 F.3d 256, 266 (2d Cir. 1999). No First Amendment concern

exists given that Musk’s speech is to be reviewed by Tesla, a private actor, and not the

government. Finally, Musk’s argument that any restraint on his speech is already served by less-

restrictive means—i.e., Musk’s discretion and potential future SEC enforcement actions (Dkt.

No. 27, at 21)—is belied by Musk’s demonstrated inability to discern potential materiality and is

inconsistent with the prophylactic purpose of the parties’ negotiated relief. Thus, the supposedly

less-restrictive means put forth by Musk are demonstrably ineffective and would be inconsistent

with the parties’ negotiated resolution embodied in the terms of the Court’s order.

       C.      Authority to Enforce Its Order Is Vested with the Court, Not the SEC.

       Musk’s argument that enforcement of the terms of the Court’s order exceeds the SEC’s

authority is equally flawed. Enforcement of the provisions of the Court’s order does not depend

on the SEC’s statutory authority to bring injunctive action or on any authority of the SEC at all.

Rather, this Court has broad equitable powers to enforce the terms of its order against Musk

through civil contempt. See, e.g., Shillitani v. United States, 384 U.S. 364, 370 (1966) (“There

can be no question that courts have inherent power to enforce compliance with their lawful

orders through civil contempt.”); Paramedics Electromedicina Comercial, Ltda v. GE Med. Sys.

Info. Techs., Inc., 369 F.3d 645, 657 (2d Cir. 2004) (“To the extent that a contempt sanction is

coercive, the court has ‘broad discretion to design a remedy that will bring about compliance.’”)

(quoting Perfect Fit Indus. v. Acme Quilting Co., 673 F.2d 53, 57 (2d Cir. 1982)); New York

State Nat’l Org. for Women v. Terry, 886 F.2d 1339, 1352 (2d Cir. 1989) (affirming civil

contempt sanctions issued “to coerce the contemnor into future compliance with the Court’s

order” despite First Amendment implications); see also Dkt. No. 14, at 14 (“this Court shall

retain jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment”).



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                                          CONCLUSION

       For all the reasons stated, the SEC respectfully requests that the Court find Defendant

Elon Musk in contempt of the Court’s October 16, 2018 Final Judgment and order all necessary

and appropriate relief to enforce its terms.

       In response to the Court’s March 12, 2019 order (Dkt. No. 29), the SEC respectfully

submits that, because there appear to be no disputed issues of material fact, an evidentiary

hearing is unnecessary.




Dated: March 18, 2019                                s/ Cheryl L. Crumpton
                                                     Cheryl L. Crumpton*
                                                     E. Barrett Atwood*

                                                     *Admitted pro hac vice

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                               CERTIFICATE OF SERVICE

       I certify that on March 18, 2019, a copy of the foregoing was filed through the Court’s

CM/ECF system, which will send copies to all counsel of record.



                                                    s/ Cheryl L. Crumpton
                                                    Counsel for the SEC
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Deutsche Bank
Markets Research

Rating                           Company                                                  Date

Hold                            Tesla Inc.                                                3 May 2018

                                                                                          Forecast Change
North America
United States
                                Reuters       Bloomberg     Exchange   Ticker             Price at 2 May 2018 (USD)                   301.15
Consumer                        TSLA.OQ       TSLA UN       NMS        TSLA               Price target                                365.00
Autos & Auto Parts
                                                                                          52-week range                      385.00 - 252.48


1Q18 a Bit Better, but Model 3 Ramp
Remains the Story                                                                         Valuation & Risks
                                                                                          Rod Lache
Tesla’s Q1 was a bit better than we expected w/r/t gross proﬁt, improving 500
                                                                                          Research Analyst
bps sequentially to 18.8% (we expected 200 bps), largely on improved proﬁtability
                                                                                          +1-212-250-5551
of Model S/X (improved to >25% vs.~20% in 4Q17). As expected, Model 3
experienced a signiﬁcant negative gross margin. Free cash burn in the qtr was             Shreyas Patil
roughly $900 MM, weaker than our ($500 MM) estimated, entirely due to working             Research Associate
capital variances (e.g. higher number of in-transit S/X had a $120 MM negative            +1-212-250-3916
impact, while the sharp ramp-up in Model 3 deliveries late in the qtr negatively
impacted Receivables by $169 MM; both items were cash inﬂows at the start of              Andrew Richard
Q2).                                                                                      Research Associate
                                                                                          +1-212-250-6559
Investors’ main questions related to the trajectory of Model 3 production, the
trajectory of proﬁtability, and the trajectory of free cash ﬂow/burn. In addressing       Key changes

these questions Tesla reiterated its near-term production target of 5,000 Model 3’s        EPS (USD)               -0.64 to -2.38 ↓   271.9%

per week by the end of Q2, while providing some additional color on the current            Revenue                  23,012.6 to ↓      -1.1%
                                                                                           (USDm)                     22,759.0
state of play. Improvements at Gigifactory have ramped-up sustained battery pack           Source: Deutsche Bank
production to 3,000/wk, with the Body Shop at Freemont also sustaining that level
of build. Tesla is still working to get Freemont Final Assembly and its Paint Shop up
to the sustained 3,000 run-rate. Interestingly, the company noted it believes it will
get M3 up to 5k/wk by 2Q without implementation of its new, automated battery
assembly line (developed at its Groehmann facility). This line is expected to come
online in 3Q18 and should both increase M3 production (we est by 2,000-2,500/
wk), while lower manufacturing costs.

Perhaps most importantly, TSLA reiterated their target of achieving positive free
cash ﬂow during 2H18. This is nothing new, though conﬁdence around achieving
this target clearly remains the most critical (potentially positive) near term driver
of Tesla’s shares.

The only noteworthy new negative datapoint was Tesla also pushed out the
timeline for achieving their 25% gross margin target on Model 3 to 2019 from
2H18. Mgmt. attributed this push-out to raw materials, tariﬀs, FX, and additional
labor needed to circumvent automated production bottlenecks.

Other key takeaways:
    ■  Record demand for Model S/X (though we anticipate that questions
       will remain about German Lux competitors entering in 2019, or even
       competition from Model 3 once production ramps)



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ARE LOCATED IN APPENDIX 1. MCI (P) 091/04/2018.

                                                               7T2se3r0Ot6kwoPa
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       ■     There’s still a solid demand pipeline for Model 3, with 450,000 orders (and
             we would anticipate orders could accelerate once the vehicle wait time
             declines).

       ■     Major questions about manufacturing competitiveness (i.e. comparative
             labor hours per vehicle, depreciation per vehicle, etc) remain. Our high
             level work does not suggest that Tesla is competitive (e.g. Depreciation
             per Model 3 at “under $2,000” compares with other OEM’s at $1,000-
             $1,500). But we do not believe that a thousand dollar cost disadvantage
             will derail the company’s proﬁt targets… the Model 3 ASP of $55,000+
             can accommodate near term weaknesses in manufacturing.

Updated Estimates and Valuation:
We have ﬁne-tuned our estimates following 1Q results and updated guidance.
Overall, we expect Auto gross margins of 21% in 2018 (25% for Model S & X, with
M3 getting to 20% by 4Q18). We estimated cash burn of $500 MM in 2Q18 (total
cash position of $2.2 bn, the lowest point in the yr but still well above TSLA’s $1.0-
$1.5 bn minimum cash level), with positive free cash ﬂow by 4Q18 (see Exhibit 1
for more details). Our DCF-derived TP remains unchanged at $365. Overall, while
we admire the ambitiousness of Tesla’s goals, and there are clear signs strong
demand remains for the company’s core products, we remain cognizant of the
signiﬁcant execution risks. As such, we maintain our Hold rating.

Forecasts and ratios
Year End Dec 31                                   2017A           2018E           2019E
1Q EPS                                             -1.74          -3.80A               –
2Q EPS                                             -1.73           -1.86               –
3Q EPS                                             -3.23            0.76               –
4Q EPS                                             -3.62            2.31               –
FY EPS (USD)                                      -10.35           -2.38           12.29
Source: Deutsche Bank estimates, company data




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 Figure 1: TSLA Summary Metrics
Tesla Key Metrics                             1Q17          2Q17          3Q17        4Q17       1Q18E       2Q18E       3Q18E      4Q18E           F2017       F2018E        F2019E      F2020E
Deliveries
Model S                                      13,501       12,016        14,065       15,305      10,070      10,000      20,000    13,500          54,887       53,570        53,570      53,570
Model X                                      11,550       10,010        11,865       13,120      11,730      11,000      12,000    12,000          46,545       46,730        46,730      46,730
Model 3 / Y                                     -            -             220        1,542       8,180      27,000      48,000    64,500           1,762      147,680       350,000     500,000
Total                                        25,051       22,026        26,150       29,967      29,980      48,000      80,000    90,000         103,194      247,980       450,300     600,300

Auto Revenue ($MM)                            2,290        2,287         2,363        2,702       2,735       3,658       5,789     6,236           9,641       18,419        28,318      33,034
Auto Gross Profit                               637          646           442          527         555         614       1,185     1,462           2,252        3,815         6,840       8,577
Gross Margin                                  27.8%        28.3%         18.7%        19.5%       20.3%       16.8%       20.5%     23.4%           23.4%        20.7%         24.2%       26.0%
Gross Margin ex-ZEV                           27.8%        25.0%         18.7%        13.8%       18.8%       16.8%       20.5%     23.4%           21.1%        20.5%         24.2%       26.0%

Service/Energy/Other Revenue                    193          216           304          288         263         285         395        523          1,001        1,466         1,927       2,544
Service/Other Gross Profit                      (21)         (55)          (63)         (89)       (118)        (54)        (87)       (71)          (228)        (330)         (104)        (67)
Gross Margin                                 -11.0%       -25.4%        -20.7%       -30.7%      -44.6%      -19.1%      -22.0%     -13.6%         -22.8%       -22.5%         -5.4%       -2.6%

Total Revenue                                 2,696        2,790         2,985        3,288       3,409       4,542       6,941     7,868          11,759       22,759        34,677      41,784
Total Gross Profit                              678          674           459          455         472         725       1,264     1,558           2,266        4,018         7,829      10,100
Gross Margin                                  25.1%        24.2%         15.4%        13.8%       13.8%       16.0%       18.2%     19.8%           19.3%        17.7%         22.6%       24.2%

EBITDA                                            223       264             (22)          6         (39)        271         786     1,080            471         2,097         5,464       7,276
margin                                            8.3%      9.5%          -0.7%        0.2%       -1.1%        6.0%       11.3%     13.7%            4.0%         9.2%         15.8%       17.4%

EBIT                                           (154)         (125)        (423)        (464)       (455)       (194)        263       547          (1,165)         161         3,196       4,755
margin                                        -5.7%         -4.5%       -14.2%       -14.1%      -13.4%       -4.3%        3.8%       7.0%          -9.9%         0.7%          9.2%       11.4%

Net Income                                     (282)         (285)         (540)       (609)       (643)       (321)       134        415          (1,716)         (415)       2,186       3,305
EPS                                      $    (1.74) $      (1.73) $      (3.23) $    (3.62) $    (3.80) $    (1.86) $    0.76 $     2.31     $    (10.35) $      (2.38) $     12.29 $     18.23
Basic Shares                                  162.1         165.2         167.3       168.3       169.1       172.5       176.0      179.5           165.7        174.3         177.8       181.3
Diluted Shares                                165.1         165.2         167.3       168.3       169.1       172.5       176.0      179.5           166.5        174.3         177.8       181.3

FCF Adj for Indirect Leasing
GAAP Operating Cash Flow                      (69.8)       (200.2)       (300.6)      509.9      (398.4)      364.4       679.3    1,292.9           (60.7)     1,938.2       5,182.0     5,903.0
Collateralized Lease Borrowing                241.1         149.3          80.8       211.7        86.9       110.7       101.8       81.0           682.9        380.4         357.5       719.9
Core Operating Cash Flow                      171.3         (50.9)       (219.8)      721.6      (311.4)      475.1       781.1    1,373.8           622.2      2,318.6       5,539.5     6,622.9
CAPEX                                        (552.6)       (959.1)     (1,116.4)     (786.7)     (655.7)     (973.5)     (826.0)    (494.8)       (3,414.8)    (2,950.0)     (3,200.0)   (3,300.0)
Adjusted FCF                                 (381.4)     (1,009.9)     (1,336.2)      (65.1)     (967.1)     (498.4)      (44.9)     879.0        (2,792.6)      (631.4)      2,339.5     3,322.9
Total Change in Cash Position                 613.4       (970.7)        494.1       (162.1)     (745.3)     (411.9)       33.7     970.2            (25.3)      334.0       3,114.7     3,967.3

Source: Company ﬁlings, Deutsche Bank estimates




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Appendix 1
Important Disclosures
*Other information available upon request
Disclosure checklist
Company                                                      Ticker                        Recent price*                                Disclosure
Tesla Inc.                                                   TSLA.OQ                       301.15 (USD) 2 May 2018                      1, 2, 6, 7, 8, 9, 14, 15
*Prices are current as of the end of the previous trading session unless otherwise indicated and are sourced from local exchanges via Reuters, Bloomberg and other vendors .
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Analyst Certiﬁcation




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subject issuer and the securities of the issuer. In addition, the undersigned lead analyst(s) has not and will not receive any
compensation for providing a speciﬁc recommendation or view in this report. Rod Lache

    Historical recommendations and target price. Tesla Inc. (TSLA.OQ)
(as of 05/02/2018)
                                  500.00                                                                                                               Current Recommendations
                                                                                                                                                        Buy
                                                                                                                                                        Hold
                                  400.00                                                                                                                Sell
                                                                                                                          6                             Not Rated
                                                                                                                                           8
                                                                                                                                                        Suspended Rating
                                                                                                                                 7
                 Security price




                                  300.00       1                                                                                                       ** Analyst is no longer at
                                                                                                        5
                                                                                                        4                                              Deutsche Bank
                                                                        2
                                                                                             3
                                  200.00



                                  100.00



                                    0.00
                                            Jul '15       Jan '16           Jul '16          Jan '17            Jul '17              Jan '18
                                                                                      Date

1.                        07/07/2015        Hold, Target Price Change USD 280,00 Rod Lache             5.   03/20/2017        Hold, Target Price Change USD 240,00 Rod Lache
2.                        05/05/2016        Hold, Target Price Change USD 290,00 Rod Lache             6.   09/05/2017        Hold, Target Price Change USD 320,00 Rod Lache
3.                        12/12/2016        Hold, Target Price Change USD 215,00 Rod Lache             7.   11/02/2017        Hold, Target Price Change USD 310,00 Rod Lache
4.                        03/14/2017        Hold, Target Price Change USD 220,00 Rod Lache             8.   02/08/2018        Hold, Target Price Change USD 365,00 Rod Lache
§§§§$$$$$§§§§§




    Equity Rating Key                                                                                         Equity rating dispersion and banking relationships
Buy: Based on a current 12- month view of total share-holder
return (TSR = percentage change in share price from current
price to projected target price plus pro-jected dividend yield ) ,
we recommend that investors buy the stock.
Sell: Based on a current 12-month view of total share-holder
return, we recommend that investors sell the stock.
Hold: We take a neutral view on the stock 12-months out and,
based on this time horizon, do not recommend either a Buy
or Sell.
Newly issued research recommendations and target prices
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Macroeconomic ﬂuctuations often account for most of the risks associated with exposures to instruments that promise
to pay ﬁxed or variable interest rates. For an investor who is long ﬁxed-rate instruments (thus receiving these cash
ﬂows), increases in interest rates naturally lift the discount factors applied to the expected cash ﬂows and thus
cause a loss. The longer the maturity of a certain cash ﬂow and the higher the move in the discount factor, the
higher will be the loss. Upside surprises in inﬂation, ﬁscal funding needs, and FX depreciation rates are among the
most common adverse macroeconomic shocks to receivers. But counterparty exposure, issuer creditworthiness, client
segmentation, regulation (including changes in assets holding limits for diﬀerent types of investors), changes in tax
policies, currency convertibility (which may constrain currency conversion, repatriation of proﬁts and/or liquidation of
positions), and settlement issues related to local clearing houses are also important risk factors. The sensitivity of ﬁxed-
income instruments to macroeconomic shocks may be mitigated by indexing the contracted cash ﬂows to inﬂation, to
FX depreciation, or to speciﬁed interest rates – these are common in emerging markets. The index ﬁxings may – by
construction – lag or mis-measure the actual move in the underlying variables they are intended to track. The choice of
the proper ﬁxing (or metric) is particularly important in swaps markets, where ﬂoating coupon rates (i.e., coupons indexed
to a typically short-dated interest rate reference index) are exchanged for ﬁxed coupons. Funding in a currency that diﬀers
from the currency in which coupons are denominated carries FX risk. Options on swaps (swaptions) the risks typical to
options in addition to the risks related to rates movements.
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                                                                                                                               Company Report



December 13, 2018                                Tesla (TSLA)
Rating:                                          Rollercoaster Ride with Model 3 Production Turning the
OUTPERFORM                                       Corner; Initiating at OP
Price:
$377.03
12-Month Price Target:                           The Wedbush View
$440.00
                                                 We are initiating coverage of Tesla with an OUTPERFORM rating and $440 price
Analysts
                                                 target. Tesla has evolved into one of the most dynamic technology innovators over
                                                 the last 30 years and, in our opinion, has put itself into an esteemed category of
Daniel Ives
212-344-2073                                     companies such as Apple and Amazon that have revolutionized consumer buying
Dan.Ives@wedbush.com                             habits and behaviors over the last decade. In our opinion, the company has the
Strecker Backe                                   most impressive product roadmap out of any technology/auto vendor around and
212-833-1367                                     will be a “game changing” driving force for the EV transformation over the next
Strecker.Backe@wedbush.com                       decade with Model 3 front and center. While no investor will argue the innovation
                                                 that Elon Musk & Co. have built at Tesla as the success is evident for anyone that
                                                 has driven on a road over the last few years, the real fundamental question around
Company Information                              what the stock is worth is complex given the confluence of issues surrounding
Shares Outst (M)                 179.5
52-Week Range        $244.59 - $387.46           the name heading into 2019. From a potential capital raise on the horizon, laser-
Market Cap (M)              $67,676.9            focused Model 3 production metrics and profitability trajectory, lingering SEC/
Enterprise Value (M)           $75,927           DOJ overhang stemming from Musk’s “going private” tweetstorm, to China TAM
 REV (M)                                  in $
                                                 and the investments needed to get there, are just a few of the main debatable
 FYE Dec        2017A       2018E       2019E    investor topics around Tesla over the next 12 to 18 months. While in this initiation
 Q1 Mar      2,696.3A    3,408.8A    7,381.3E    report we will dig into each of these key topics in more detail, overall seeing the
 Q2 Jun      2,789.6A    4,002.2A    7,532.4E    forest through the trees we believe Tesla has the most innovative product roadmap
 Q3 Sep      2,984.7A    6,824.4A    7,733.4E
 Q4 Dec      3,288.2A    7,188.5E    7,497.5E
                                                 in the technology space over the next 5 to 10 years. With its flagship Model
 Year*      11,758.8A   21,423.9E   30,144.7E    3 poised to catalyze a broader move to electronic vehicles, renewable energy,
 EPS                                     in $
                                                 and eventually broader ambitions for Musk and Tesla that will lead to further
 FYE Dec       2017A       2018E       2019E     innovations around battery production and self-driving cars looking out into 2020
 Q1 Mar       (1.33)A     (3.36)A      1.25E     and beyond that should further transform Tesla into a technology titan over the
 Q2 Jun       (1.33)A     (3.06)A      1.22E     coming years despite the near-term turbulence around the name. In a nutshell,
 Q3 Sep       (2.92)A       2.90A      1.57E
 Q4 Dec       (3.05)A       1.98E      1.43E
                                                 the Tesla Model 3 production analysis we have built is the linchpin to our broader
 Year*        (8.67)A     (1.25)E      5.47E     bull thesis and valuation on the company as we look out on the potential of this
 P/E              NM          NM        68.9x    disruptive consumer technology play over the next decade. While this will be a
                                                 bumpy road and never a smooth straight line with Musk & Co. at the helm, we
Pricing data provided by Thomson Reuters.
*Numbers may not add up due to rounding.
                                                 believe Tesla has a golden opportunity to ramp Model 3 unit sales in 2019 and
                                                 beyond and thus translate into massive FCF and profitability as we look out into
                                                 2022-2030 based on this detailed auto unit analysis.




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Investment Overview

Tesla has evolved into one of the most dynamic technology innovators and, in our opinion, has put itself into an
esteemed category of companies such as Apple and Amazon that have revolutionized consumer buying habits and
behaviors over the last decade. In our opinion Tesla has the most impressive product roadmap out of any technology/
auto vendor around and will be a “game changing” driving force for the EV transformation over the next decade with
Model 3 front and center. While no investor will argue the innovation that Elon Musk & Co. have built at Tesla as the
success is evident for anyone that has driven on a road over the last few years, the real fundamental question around
what the stock is worth is complex given the confluence of issues at Tesla/Musk & Co. While there are a number of hot
topic variables around China demand and the impact on the company's model over the next decade, ramping Model
3 production, the Musk dynamic, Autopilot functionality (and missteps/crashes) and a stretched balance sheet, we
ultimately believe Tesla has an opportunity to morph itself into an "Apple-like consumer brand."

Bear Case                                   Base Case                                     Bull Case


Model 3 production hits a major             Model 3 production and                        Model 3 production hits the
bottleneck in Fremont, fails to meet        demand targets met;                           10k per week target earlier
demand/GM sees pressure. Street's           profitability ramp in FY19                    than expected. GM exceeds
FY20 projections fail to materialize        and beyond meets Street                       target goals with success of mid-
with mid-range/base models softer           expectations with the mid-range               range and base model exceeding
demand. Capital raise.                      and base vehicle on time. No                  demand. China TAM materializes;
                                            capital raise.                                Giga 3 ramps.

Upcoming Catalysts                                            Primary Value Driver


Earnings in late January. Model 3 production trajectory       Model 3 demand trajectory over the next 2 to 3
heading into 2019. Settling of lingering DOJ investigation    years coupled by production yield and ability to meet
and shareholder lawsuits.                                     EV demand at target GM's. Profitability/cash flow
                                                              projections for 2020 and beyond are key.
Valuation                                                     Investor Sentiment


With $22 of earnings power by 2025 and our FCF                Positive
projections of $5 billion by 2025 we believe a valuation of
$440 is fair. At $440 Telsa would trade at EV/Rev of 1.2x
and EV/EBITDA of 9x.

Company Description                                           Price Performance


Tesla, Inc. designs, develops, manufactures, and sells         400.00

electric vehicles, and energy generation and storage           350.00

systems. The company's core automotive segment with            300.00
Model 3 as its flagship vehicle has established itself as a
                                                               250.00
leader in the EV segment.
                                                                  12/17           03/18   06/18       09/18            12/18
                                                                          Tesla

                                                                                                       Created by BlueMatrix



                                                              Source: EDI




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     We are Initiating Coverage of Telsa with an OUTPERFORM rating and $440 Price Target

     We are initiating coverage of Tesla with an OUTPERFORM rating and $440 price target. Tesla has
     evolved into one of the most dynamic technology innovators over the last 30 years and, in our
     opinion, has put itself into an esteemed category of companies such as Apple and Amazon that
     have revolutionized consumer buying habits and behaviors over the last decade. In our opinion,
     the company has the most impressive product roadmap out of any technology/auto vendor around
     and will be a “game changing” driving force for the EV transformation over the next decade with
     Model 3 front and center. While no investor will argue the innovation that Elon Musk & Co. have
     built at Tesla as the success is evident for anyone that has driven on a road over the last few years,
     the real fundamental question around what the stock is worth is complex given the confluence
     of issues surrounding the name heading into 2019. From a potential capital raise on the horizon,
     laser-focused Model 3 production metrics and profitability trajectory, lingering SEC/DOJ overhang
     stemming from Musk’s “going private” tweetstorm, to China TAM and the investments needed to
     get there, are just a few of the main debatable investor topics around Tesla over the next 12 to 18
     months. While in this initiation report we will dig into each of these key topics in more detail, overall
     seeing the forest through the trees we believe Tesla has the most innovative product roadmap in the
     technology space over the next 5 to 10 years. With its flagship Model 3 poised to catalyze a broader
     move to electronic vehicles, renewable energy, and eventually broader ambitions for Musk and
     Tesla that will lead to further innovations around battery production and self-driving cars looking
     out into 2020 and beyond that should further transform Tesla into a technology titan despite the
     near-term turbulence around the name. The company’s efficiency in the EV space is in a league of
     its own from a battery cost perspective and unparalleled Supercharger network that continues to
     be major competitive advantages as established automakers look to go after market share vs. Tesla
     in 2019 and beyond.
     Tesla in the driver's seat on the EV secular shift. With the overall EV market representing between
     1.5% and 2% of new vehicles sold worldwide today with industry forecasts indicating overall EV
     sales could reach 8% of all new vehicles by 2025, it is clear that Tesla is in the driver's seat on the EV
     market and is poised to see demand accelerate over the coming years especially with mid-range and
     lower price points on the horizon, which will be a major catalyst for growth. Gross margins ramping
     by 350 bps to 400 bps or more over the next three years will be key to the model transformation
     of Tesla, with battery technology efficiencies over the coming years being driven by Fremont and
     Gigafactory 1 and 3. On the gross margin front the big conundrum is that Tesla needs to ramp
     production of its lower priced $46k mid-range and eventually $35k base models to drive broader
     consumer demand, while importantly increasing GM's toward the mid 20% range over time. Herein
     lies a major challenge for Musk & Co. during the course of 2019/2020, as the company has navigated
     many production and cash flow challenges over the past year with another hurdle and balancing
     act ahead, as Telsa drives mass production on Model 3 and must maintain an optimal financial
     profile during this transition. While there are a number of hot topic variables around China demand
     and the impact on the company's model over the next decade, ramping Model 3 production, the
     Musk dynamic, Autopilot functionality (and missteps/crashes) and a stretched balance sheet, we
     ultimately believe Tesla has an opportunity to morph itself into an "Apple-like consumer brand"
     with the next 12 to 18 months, a pivotal window for the company to further separate itself from
     traditional US/German auto players now looking to double down on the EV market over the next
     decade that have been late to the game.




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     Balancing act for Musk & Co. in the near term with debt payments ahead. With profitability targets
     moved up ahead of Street expectations based on the company's impressive 3Q performance, which
     surprised even the most bullish investors and Model 3 production now past the Nightmare on
     Elm Street bottlenecks and issues seen over the last year, it all comes down to gauging consumer
     demand and the product roadmap for the mid-range and base versions ($35k) heading into next
     year. Will there be enough production and profitability to halt a capital raise, which remains a
     lingering overhang on the name, herein lies a major debate around Tesla. To this point, while we
     believe the company’s model is self-funding from a cash flow perspective going forward and could
     now pay down debt tranches over the next year, we do believe a capital raise of between $2 billion
     to $2.5 billion could be still on the docket (30%-35% chance, in our opinion) over the next 12 to
     18 months as Musk & Co. aggressively invest into core Tesla production as well as a host of related
     initiatives (Gigafactory 3, Tesla Energy, Semi, solar, ride sharing) over the coming years and thus
     give themselves more flexibility on the balance sheet/cap ex if they (and the board) decide to head
     down this path. In a nutshell, Tesla has turned the corner on Model 3 production, demand looks
     strong into 2019/2020 and beyond based on underlying drivers for the EV market, and the financial
     model now is poised to generate improved profitability and cash flow that puts the risk of a capital
     raise in the background for now. However, there is no room for major production errors or another
     distraction from Musk over the coming year given its cash flow balancing act needed, coupled with
     the company still caught in the midst of ongoing shareholder lawsuits/DOJ investigation relating
     to the "going private saga" from a few months ago. Looking out over the next decade, we believe
     Tesla and Model 3 have the opportunity to transform consumer auto buying behavior and capitalize
     on this unprecedented market opportunity and its leadership position in the EV market with the
     Street now focusing on the demand opportunity rather than the production issues, which had
     been clouding the company's future over the last year. From a capex perspective we believe levels
     between $2.2 billion to $2.3 billion appear fair for FY2019 with a ramp to $2.7 billion in FY20 based
     on our analysis with more resources around Gigafactory 3 in China front and center as a driver for
     potentially higher levels of investments looking ahead.
     sb

     More Model 3 Production = Key to Cash Flow and Profitability Ramp

     2019 will be a crucial year to monitor the supply/demand balance around Model 3 production out
     of Telsa’s flagship Fremont factory while carefully monitoring the GM and profitability trajectory as
     demand data points on the base price version of $35k are crucial to the company’s overall capital
     structure. We also note with US tax credits on electronic vehicles going from $7,500 in 2018 to
     $3,750 in 1H19 and $1,875 in 2H19, coupled by the current price of fuel, many investors are betting
     that demand drivers around Model 3 production could fade on the high end of the market (coupled
     by heightened competition from the likes of Porsche and Jaguar) and result in a significant capital
     raise by Tesla over the next 3 to 6 months in light of its mounting debt pile and thus representing a
     major overhang on the stock. To this point, as evidenced last quarter, Tesla’s profitability ramped/
     has been accelerated vs. the Street’s original expectations as the stepped-up Model 3 production
     out of Fremont with bottlenecks in the rear view mirror, better expense controls, and an eventual
     move toward more vertical production over the next 3-4 years now appears on the horizon and thus
     took a big step forward over the past few months. This has been a huge relief to investors, coupled
     by the recent settling of Musk/Tesla’s case with the SEC stemming from his going private tweets,
     which has resulted in a stock rebounding dramatically from the lows seen in early September.




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     Capital raise not on the horizon...but. Based on our current model and GM analysis of Model 3
     production over the next three years, we believe Tesla’s profitability trajectory and cash generation
     should be ample to meet the company’s ~$1.5 billion of debt obligations around the corner in the
     coming year with two more tranches due in March 2019 ($920 million) and November 2019 ($566
     million). After a rollercoaster ride around Model 3 production hitting the elusive 5k per week now
     in the books, we believe the next goal will be around reaching a production run rate of 10k Model
     3s per week over the next 12 to 24 months and importantly, hitting target GMs in the 25% range on
     Model 3. We believe a production run rate trending toward 7k per week in early 2019 and annual
     production close to 325k-350k is a firm base to build upon as Musk & Co. aim for its target goal
     of 10k per week. While production yields are still not at capacity in Fremont and Gigafactory 1,
     we believe the company’s $35k base Model 3 ramp will be at the center of the bull/bear thesis on
     Tesla heading into 1H2019 as starting production in 1Q19 (target plan as of now) will be another
     step forward for Musk and Tesla to pour water on the lingering Tesla bear thesis. We note there are
     some Tesla skeptics that believe a $35k base model is a pipe dream and will never hit the market
     given the current production yield and cost structure around Model 3 production, which speaks to
     why it is so important for Musk & Co. to produce mid-range ($46k) and base model ($35k) versions
     during the course of 2019. As of today the delivery estimate for the mid-range vehicle is for 6 to 10
     weeks from now, which we are modeling to slowly improve as production ramps during the course
     of 2019. We also believe pent up in demand around Model Y and Roadster (Semi still a wild card in
     our opinion) will be incremental demand drivers starting in 2020 which we are modeling as further
     catalysts for Tesla as the company expands its leadership market on the EV market over the next
     decade. Geographically speaking, a key incremental growth driver for Tesla over the coming years
     will be opening up new consumer market opportunities in Europe and particularly China front and
     center. In China with reduced tariffs, an untapped EV market opportunity, and Gigafactory 3 on the
     horizon, we believe this represents a golden market opportunity for Musk & Co. starting in 2020
     and in our opinion is a key ingredient in Tesla's recipe for success over the next decade as illustrated
     in our Wedbush Tesla Delivery Model (pages 9-10).
     sb

     Model 3 Production Ramp Analysis-A Deeper Dive and Key to the Tesla Bull Case

     Based on our scenario analysis we believe Tesla’s GM profile can stay in the 20%+ range even with
     a mid-ish teen GM profile initially (could be lower to start) on Model 3 $35k base versions slated
     to hit the market during the course of 2019. While the skeptics have serious doubts around the
     production trajectory for the base Model 3 version slated to start in 1Q19, we ultimately believe the
     success of this lower end, mainstream model and mid-range version will be key to Tesla’s ability to
     navigate through its debt and cash flow obligations over the next 12 to 18 months without having
     to raise additional capital. As of now Tesla is paying off its first tranche of debt and not factoring
     in a capital raise to its forecast although this could change if base Model 3 production hits a major
     snag in 2019 and/or disruptions hitting consistent 7k production targets eventually moving to 10k
     manifests out of Fremont and Gigafactory. With current Revs/Unit for Model 3 in the $60k range
     this past quarter having driven GM to ~23%, we believe these levels can sustain through most of
     2019 and 2020 although with the $46k mid-range and $35k base model on the way this could see
     downward pressure especially in 1H19 with a lift back towards the low 20's with the march to 25%
     on tap by 2025. We note the base $35k Model 3 goal is on target to go live on the factory floor
     in late 1Q19 and while profitability will be in the red the first 6 to 9 months and margin dilutive,
     we believe this model along with more affordable leasing options will open up a much broader
     consumer market opportunity for Tesla over the next few years. We note that Model 3 gross margin
     was guided to track in line with 4Q as in 3Q (~20%), while on the other hand Model S and X margins
     should also stay constant despite China trade tensions and a handful of other near-term pressures.
     With long-term gross margins targets of roughly 25% for Model 3 expected to be an aggressive high
     bar to hit over time, the Street will be laser focused on this balancing act over the next 12 to 18
     months especially with the ramp of the $35k model on the horizon.




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     Scenario analysis around Model 3 production. While Tesla struggled for the last year to reach the
     elusive 5k per week threshold, now the company is producing at a run rate of roughly 6k per week
     (850 per day) with the next major goal to hit 10k per week in production as the next key target
     during 2019. The key now for Tesla and Musk is around further expansion into higher consumer
     volume segments with price points on the mid range and base range Model 3 appealing to the
     broader consumer buyer over the coming year. While the upside is increased market share in these
     higher volume segments the ultimate worry is that with the current cost to produce Model 3 at
     $28k - $34k based on industry analysis how can you sell a car at ~$35k? To this point its all about
     production yield, more vertical integration expansion, and further production out of Gigafactory
     1 and eventually Gigafactory 3 (flagship Shanghai build out under way) set to see production in
     2H19. While further efficiencies on Model 3 production and an expected ramp in R&D over the
     coming 12 to 18 months to fund a host of projects around Model 3, autopilot, ride sharing, and
     other skunk works initiatives, we believe over the next 5 to 10 years a more efficient production
     ramp and process will enable Tesla to see a discernible jump in profitability and margins beginning
     in 2020. In our model, we take a deep dive and an analysis of where we view unit volume and
     average price points for Tesla’s auto production going forward. There are two major focal points
     from the perspective of the Street on this unit volume model: 1.) Can unit volume reach over 1
     million units annually by 2025 and approach 2 million units annually by 2030 and 2.) Will the EBIT
     and FCF ramp be quick enough that Tesla does not need a significant capital raise in the next 12
     to 18 months. Ultimately while demand for Model 3 could move around over the coming quarters
     especially with a new range of low to mid-market models hitting in 2019, we firmly believe Tesla is
     the linchpin around driving the transformational move to the EV shift happening among consumers
     worldwide. Tesla production yields improving and moving to more vertical-like production over the
     coming years with more cost efficiencies from its Fremont and Gigafactories (with China a key X-
     factor) will be crucial to the company’s success going forward. While there will be speed bumps
     along the way, we believe getting worldwide production annually to between 750k and 1 mm units
     by 2020 is an achievable target that will further bolster the Tesla growth thesis for the coming years
     as this remains a key hurdle to hit over the next 2 years. With Tesla focusing more on vertically
     integrating battery packs, storage products, and lithium-ion cells we believe the company is poised
     to see much more production efficiency (and improved GM) out of Gigafactory 1 and Fremont which
     remains the foundation for Tesla to find a firm profitability and GM ramp on Model 3 production
     especially with the all-important mid-range and base models hitting the road in 2019.

     Summary of Wedbush Tesla Delivery Model Analysis and Thoughts

     We have done an in depth analysis around Model 3 deliveries (see Wedbush Tesla Delivery Model
     pages 9-10) and importantly trying to model out the scenario we believe is most likely at this point
     around the demand trajectory for Telsa’s auto units between now and 2030. There are a number
     of variables around production levels out of Fremont/Gigafactory with Model 3 yields, gauging
     demand levels/timing of Model Y,/Roadster/Pick-Up, and a host of other factors relating to overall
     EV sales in the consumer market worldwide that drive our bottoms up analysis. That said, the
     key to our Tesla auto unit analysis through 2030 is based on Model 3 demand especially with the
     mid-range ($46k) and base model ($35k) poised to catalyze broader volumes of adoption for the
     company over the next decade. In the near term we are modeling Tesla to ship 401 million auto
     deliveries in 2019, up 60%+ year over year with Model 3 units on a demand trajectory to exceed
     300 million. We believe the mix of Model 3 vs. other units will peak at 76% and trend towards the
     mid to high 60% range from 2021 through 2030. Beginning in 2020 we are forecasting shipments of
     the Model Y to start to taking hold and ramp aggressively over the next few years along with sales
     of Roadster and potentially the Pick Up vehicle. With revenue per unit currently trending toward
     $70k, we believe the volumes driven by lower priced mid-range and base model will drive this figure
     downward to $55k by 2025 and eventually level out in the ~$50k range between 2025 and 2030
     based on our Tesla Delivery Model. In a nutshell, this Tesla Model 3 production analysis we have
     built is the linchpin to our broader bull thesis and valuation on the company as we look out in the
     potential of this disruptive consumer technology play over the next decade. While this will a bumpy
     road and never a smooth straight line with Musk & Co. at the helm, we believe Tesla has a golden
     opportunity to ramp Model 3 unit sales in 2019 and beyond and thus translate into massive FCF
     and profitability as we look out into 2022-2030 based on this detailed auto unit analysis.

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     Valuation Thoughts

     The major bull/bear debate on Tesla centers around the valuation and how to analyze an auto/
     technology company with so many production/GM variables around its EV leadership position
     with Model 3 front and center, unmatched brand awareness and technology around battery
     efficiency, and a technology roadmap that in our opinion is unparalleled over the next decade. With
     clean technology, luxury automakers, and other auto technology/industrial players as valuation
     barometers on the trifecta valuation metrics of: PE, Price/Sales, and EV/EBITDA the a valuation
     range of $340 to $360 for Tesla is fair even with a premium multiple to the group with a EV/
     Rev of 2.0x and EV/EBITDA of 13x off FY20 numbers. However, as we view Tesla as a disruptive
     technology vendor along the likes of Apple, Google, and Amazon and believe a triangulated, longer
     term valuation approach for Tesla is more accurate to capture the intrinsic value in this innovative
     technology roadmap. To this point, looking out a more normalized model with $22 of earnings
     power by 2025 and our FCF projections of $5 billion by 2025 we believe a valuation of $440 per
     share is fair for Tesla. At $440 Telsa would trade at a PE of 20x our 2025 EPS estimate and trade at 17x
     our long-term FCF target of $5 billion, while representing an EV/Rev of 1.2x and EV/EBITDA of 9x.




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                                                                                                                             Wedbush Tesla Delivery Model
                                                                                                                                  (in thousands, except for Units & Rev. Per Unit)


                                                                                                    2018E                                                                            2019E                                                                      2020E
                                                                      1Q18A          2Q18A          3Q18A          4Q18E            FY18E            1Q19E           2Q19E           3Q19E          4Q19E          FY19E          1Q20E          2Q20E          3Q20E          4Q20E          FY20E
Unit Delivery
 Model S & X                                                           21,815         22,319         27,710         27,288            99,132           21,597         22,096          27,433         27,015          98,141        21,273         21,654         27,159         26,124          96,209
 Model 3                                                                8,182         18,449         56,065         63,376           146,072           66,274         75,641          80,734         80,488         303,136        79,529         92,509         97,768        100,489         370,295
 Model Y, Roadster G. II, Pick-up, Semi                                                                                -                                  -              -               -              -                                         12,000         15,000         18,000          45,000
Total Units                                                            29,997         40,768         83,775         90,664           245,204           87,871         97,737         108,167        107,503         401,277       100,802        126,163        139,927        144,613         511,504

Year-over-year Growth
 Model S & X                                                            -12.9%          1.3%            6.9%         -4.0%             -2.3%            -1.0%          -1.0%           -1.0%          -1.0%           -1.0%         -1.5%          -2.0%          -1.0%          -3.3%            -2.0%
 Model 3                                                                                            25154.5%       4010.0%           8180.7%           710.0%         310.0%           44.0%          27.0%          107.5%         20.0%          22.3%          21.1%          24.9%            22.2%
 Model Y, Roadster G. II, Pick-up, & Semi                                                                                                                                                                                                             NA             NA             NA               NA
Total Units                                                             19.7%          85.1%         220.5%         202.5%            137.6%           192.9%         139.7%           29.1%          18.6%           63.7%         14.7%          29.1%          29.4%          34.5%            27.5%

Unit Delivery Mix
 Model S & X                                                              73%            55%            33%            30%                40%             25%            23%             25%            25%            24%            21%            17%            19%            18%             19%
 Model 3                                                                  27%            45%            67%            70%                60%             75%            77%             75%            75%            76%            79%            73%            70%            69%             72%
 Model Y, Roadster G. II, Pick-up, Semi                                                                                                                                                                                                              10%            11%            12%              9%
Total Delivery                                                           100%           100%           100%           100%              100%             100%           100%            100%           100%           100%           100%           100%           100%           100%            100%


Reveue Per Unit                                                   $    85,405    $    76,478    $    70,168    $    68,976    $       72,640     $     71,996    $    65,618    $     59,783    $    58,147    $     63,440   $    67,244    $    61,353    $    55,538    $    54,019    $     58,850
                                                                         5.1%          -16.4%         -11.7%         -14.2%            -12.2%          -15.7%          -14.2%          -14.8%         -15.7%         -12.7%          -6.6%          -6.5%          -7.1%          -7.1%           -7.2%

Revenue - Auto. Delivery                                          $ 2,561,881    $ 3,117,865    $ 5,878,305    $ 6,253,689    $ 17,811,740       $ 6,326,369     $ 6,413,320    $ 6,466,511     $ 6,250,981    $ 25,457,182   $ 6,778,357    $ 7,740,479    $ 7,771,313    $ 7,811,778    $ 30,101,927
Sources: Company Reports and Wedbush Securities, Inc. estimates
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                                                                                                  Wedbush Tesla Delivery Model
                                                                                                       (in thousands, except for Units & Rev. Per Unit)


                                                                          2021E              2022E              2023E              2024E              2025E              2026E               2027E               2028E               2029E               2030E
                                                                           Total              Total              Total              Total              Total              Total               Total               Total               Total               Total
Unit Delivery
 Model S & X                                                                  98,133             99,114           100,106              98,104             95,160             91,354              87,700              84,192              80,824              77,591
 Model 3                                                                    446,946            536,336            616,786            703,136            787,512            866,264             952,890            1,048,179           1,152,997           1,233,707
 Model Y, Roadster G. II, Pick-up, Semi                                     145,350            203,490            248,258            292,944            333,956            367,352             404,087             444,496             488,946             528,061

Total Units                                                                 690,430            838,940            965,149           1,094,184          1,216,629          1,324,970           1,444,677           1,576,867           1,722,767           1,839,359


Year-over-year Growth
 Model S & X                                                                       2%                 1%                 1%                 -2%                -3%                -4%                 -4%                 -4%                 -4%                 -4%
 Model 3                                                                           21%                20%                15%                14%                12%                10%                 10%                 10%                 10%                  7%
 Model Y, Roadster G. II, Pick-up, & Semi                                      223%                   40%                22%                18%                14%                10%                 10%                 10%                 10%                  8%
Total Units                                                                    35.0%              21.5%              15.0%              13.4%              11.2%                  8.9%                9.0%                9.2%                9.3%                6.8%


Unit Delivery Mix
 Model S & X                                                                       14%                12%                10%                9%                 8%                  7%                  6%                  5%                  5%                  4%
 Model 3                                                                           65%                64%                64%                64%                65%                65%                 66%                 66%                 67%                 67%
 Model Y, Roadster G. II, Pick-up, Semi                                            21%                24%                26%                27%                27%                28%                 28%                 28%                 28%                 29%
Total Delivery                                                                 100%               100%               100%               100%               100%               100%                100%                100%                100%                100%


Reveue Per Unit                                                       $       56,496     $       57,061     $       56,490     $       55,643     $       54,530     $       53,439      $       52,371      $       51,323      $       50,297      $       49,291
                                                                                   -4%                1%                 -1%                -2%                -2%                -2%                 -2%                 -2%                 -2%                 -2%


Revenue - Auto. Delivery                                              $   39,006,381     $   47,870,576     $   54,521,454     $   60,883,466     $   66,342,739     $   70,805,529      $   75,658,564      $   80,929,787      $   86,649,471      $   90,663,412
Sources: Company Reports and Wedbush Securities, Inc. estimates
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Tesla, Inc. (TSLA)
Income Statement
($ in millions, except per share)

                                                                                                                 2017A                                                   2018E                                               2019E                                    2020E
                                                                       1Q17A                 2Q17A               3Q17A     4Q17A     FY17A       1Q18A         2Q18A     3Q18A     4Q18E     FY18E       1Q19E     2Q19E     3Q19E     4Q19E     FY19E                  FY20E
                                                                       Mar-17                Jun-17              Sep-17    Dec-17     Total      Mar-18        Jun-18    Sep-18    Dec-18     Total      Mar-19    Jun-19    Sep-19    Dec-19     Total                  Total
Revenue
  Automotive                                                           2,289.6               2,286.6             2,362.9   2,702.2   9,641.3     2,735.3       3,357.7   6,098.8   6,482.3   18,674.1    6,621.2   6,761.1   6,896.4   6,685.3   26,964.0              32,007.5
  Energy & Storage                                                      213.9                 286.8               317.5    298.0     1,116.3     410.0         374.4      399.3    360.6     1,544.4     438.7     441.8      455.2    414.7     1,750.5               2,602.8
  Services & Other                                                      192.7                 216.2               304.3     288.0     1,001.2     263.4         270.1     326.3     345.6     1,205.5     321.4     329.6     381.8     397.5     1,430.2               1,425.2
   Total Revenue                                                       2,696.3               2,789.6             2,984.7   3,288.2   11,758.8    3,408.8       4,002.2   6,824.4   7,188.5   21,423.9    7,381.3   7,532.4   7,733.4   7,497.5   30,144.7              36,035.4
    Year-over-Year Growth                                               135%                  120%                30%       44%        68%        26%           43%       129%      119%       82%        117%      88%       13%        4%        41%                   20%
    Qtr-over-Qtr Growth                                                  18%                   3%                  7%       10%        NM          4%           17%       71%        5%        NM          3%        2%        3%       -3%        NM                    NM
  Total Cost of Revenue                                                2,018.3               2,115.5             2,525.4   2,833.3   9,492.4     2,934.1       3,367.2   5,275.7   5,664.6   17,241.6    5,823.8   5,920.5   6,032.1   5,840.6   23,617.0              27,918.1
Gross Profit                                                            678.0                 674.1               459.3     455.0    2,266.3      474.6         635.0    1,548.7   1,524.0   4,182.3     1,557.5   1,611.9   1,701.4   1,657.0   6,527.7               8,117.4
Operating Expenses
  Research & Development                                                272.8                 312.0               280.6    295.1     1,160.5     306.0         320.2      285.1    330.7     1,242.0     501.9     512.2      525.9    524.8     2,064.8               2,329.1
  Selling, General, & Administrative                                    559.0                 487.0               601.6    623.7     2,271.2     624.0         738.9      642.1    661.3     2,666.3     716.0     760.8      765.6    734.8     2,977.1               3,628.7
  Total Operating Expenses                                              831.8                 799.0               882.1     918.8     3,431.7     929.9        1,059.1    927.2    992.0     3,908.2     1,217.9   1,273.0   1,291.5   1,259.6   5,042.0               5,957.8
Operating Income                                                       (153.8)               (124.9)             (422.8)   (463.8)   (1,165.3)   (455.3)       (424.0)    621.5    532.0      274.1       339.5     339.0     409.9     397.4    1,485.7               2,159.6

  Stock-based compensation                                              (103.7)              (116.0)             (112.7)   (134.3)    (466.8)    (141.6)       (197.3)   (204.7)   (210.0)    (753.7)    (150.0)   (115.0)   (206.0)   (220.0)    (691.0)               (470.0)
 Interest and other income                                             (114.4)               (144.9)             (136.0)   (181.8)    (576.9)    (182.0)       (107.6)   (145.4)   (220.0)    (655.1)    (160.0)   (175.0)   (165.0)   (180.0)    (680.0)               (560.0)
Income Before Taxes                                                    (371.9)               (385.8)             (671.4)   (779.9)   (2,209.0)   (779.0)       (729.0)   271.3     102.0     (1,134.7)    29.5      49.0      38.9      (2.6)      114.7               1,129.6
  Income Taxes                                                           25.3                  15.6               (0.3)     (9.1)      31.5        5.6          13.7      16.6      12.2       48.2        3.5       5.9       4.7      (0.3)      13.8                 158.1
Net Income                                                             (330.3)               (336.4)             (619.4)   (675.4)   (2,240.6)   (709.6)       (717.5)    311.5     89.7     (1,182.9)    26.0      43.1       34.2     (2.3)     101.0                 971.4
Net Income - Pro-forma*                                                (215.0)               (220.4)             (488.5)   (513.1)   (1,436.9)   (567.9)       (520.2)    516.2    354.7      (217.1)    226.0     223.1      290.2    267.7     1,007.0               1,685.4
EPS                                                                     (2.04)                (2.04)              (3.70)   (4.01)     (13.52)    (4.19)        (4.22)     1.75      0.50      (6.79)      0.14      0.24      0.18      (0.01)    0.55                  5.07
EPS - Pro-forma*                                                        (1.33)                (1.33)              (2.92)   (3.05)     (8.67)     (3.36)        (3.06)     2.90      1.98      (1.25)      1.25      1.22      1.57      1.43      5.47                  8.80
  Shares Outstanding - Diluted                                          162.1                 165.2               167.3    168.3      165.7      169.1         170.0      178.2    179.5      174.2      181.0     183.0      185.0    187.0      184.0                 191.5
* Does not include amortization of goodwill and intangibles, stock-based compensation and restructuring costs.

                                                                       1Q17A                 2Q17A               3Q17A     4Q17A     FY17A       1Q18A         2Q18A     3Q18A     4Q18E     FY18E       1Q19E     2Q19E     3Q19E     4Q19E     FY19E                  FY20E
Margins
 Gross Margin                                                           25.1%                 24.2%               15.4%     13.8%      19.3%      13.9%         15.9%     22.7%    21.2%      19.5%      21.1%     21.4%      22.0%    22.1%      21.7%                 22.5%
 Operating Margin                                                       -5.7%                 -4.5%              -14.2%    -14.1%      -9.9%     -13.4%        -10.6%     9.1%     7.4%        1.3%      4.6%      4.5%       5.3%     5.3%       4.9%                  6.0%
 Net Margin - Pro forma                                                 -8.0%                 -7.9%              -16.4%    -15.6%     -12.2%     -16.7%        -13.0%     7.6%     4.9%       -1.0%      3.1%      3.0%       3.8%     3.6%       3.3%                  4.7%
Percent of Revenues
  Automotive                                                            84.9%                 82.0%               79.2%    82.2%      82.0%      80.2%         83.9%      89.4%    90.2%      87.2%      89.7%     89.8%      89.2%    89.2%      89.4%                 88.8%
  Energy & Storage                                                      7.9%                  10.3%               10.6%    9.1%       9.5%       12.0%         9.4%       5.9%     5.0%       7.2%       5.9%      5.9%       5.9%     5.5%       5.8%                  7.2%
  Services & Other                                                      7.1%                  7.7%                10.2%    8.8%       8.5%       7.7%          6.7%       4.8%     4.8%       5.6%       4.4%      4.4%       4.9%     5.3%       4.7%                  4.0%
  Research & Development                                                10.1%                 11.2%               9.4%     9.0%       9.9%       9.0%          8.0%       4.2%     4.6%       5.8%       6.8%      6.8%       6.8%     7.0%       6.8%                  6.5%
  Selling, General, & Administrative                                    20.7%                 17.5%               20.2%    19.0%      19.3%      18.3%         18.5%      9.4%     9.2%       12.4%      9.7%      10.1%      9.9%     9.8%       9.9%                  10.1%
  Year-over-Year Growth
  Automotive                                                           123.1%                 93.5%                10.0%    35.5%     51.8%       19.5%         46.8%     158.1%    139.9%     93.7%      142.1%    101.4%    13.1%     3.1%       44.4%                18.7%
  Energy & Storage                                                     841.3%               7165.8%              1260.7%   126.8%    515.4%       91.6%         30.6%      25.8%     21.0%     38.4%       7.0%      18.0%    14.0%     15.0%      13.3%                48.7%
  Services & Other                                                      96.1%               156.7%                140.8%    81.0%    113.9%       36.7%         25.0%      7.2%      20.0%     20.4%       22.0%     22.0%    17.0%     15.0%      18.6%                -0.4%
  Total Revenue                                                        135.1%               119.6%                 29.9%    43.9%     68.0%       26.4%         43.5%     128.6%    118.6%     82.2%      116.5%     88.2%    13.3%     4.3%       40.7%                19.5%
  Operating Income                                                      -3.0%                -26.9%              -341.4%   184.2%    267.3%      196.0%        239.6%    -247.0%   -214.7%   -123.5%     -174.6%   -179.9%   -34.0%    -25.3%     442.1%                45.4%
  EPS - pro forma *                                                    133.8%                 26.1%              -511.3%   343.5%    476.2%      153.2%        129.4%    -199.2%   -164.8%    -85.6%     -137.2%   -139.8%   -45.9%    -27.6%    -539.1%                60.8%
  Sequential Growth
  Automotive                                                            14.8%                 -0.1%               3.3%      18.0%      NM         1.2%         22.8%      81.6%      6.3%      NM          2.1%      2.1%     2.0%      -3.1%      NM                    NM
  Energy & Storage                                                      62.8%                 34.0%               10.7%     -6.1%      NM        37.6%         -8.7%       6.7%     -9.7%      NM         21.7%      0.7%     3.0%      -8.9%      NM                    NM
  Services & Other                                                      21.1%                 12.2%               40.8%     -5.3%      NM        -8.5%          2.6%      20.8%      5.9%      NM         -7.0%      2.6%     15.8%      4.1%      NM                    NM
  Total Revenue                                                         18.0%                  3.5%               7.0%      22.0%      NM         3.7%         17.4%      70.5%      5.3%      NM          2.7%      2.0%     2.7%      -3.1%      NM                    NM
  Operating Income                                                      -5.7%                -18.8%              238.6%    201.5%      NM        -1.8%         -6.9%     -246.6%   -14.4%      NM        -36.2%     -0.2%     20.9%     -3.1%      NM                    NM
  EPS - pro forma *                                                     92.9%                  0.6%              118.9%    129.9%      NM        10.1%         -8.9%     -194.7%   -31.8%      NM        -36.8%     -2.4%     28.7%     -8.7%      NM                    NM


  Sources: Company Reports and Wedbush Securities, Inc. estimates                                                                                                                                                                                                     Daniel Ives
                                                                                                                                                                                                                                                                 (212) 344 - 2073
                                                                                                                                                                                                                                                            Dan.Ives@wedbush.com




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Tesla, Inc. (TSLA)
Balance Sheet ($ in millions)
                                                                  FY17                         FY18
                                                                    Dec-17           Mar-18      Jun-18     Sep-18
ASSETS
Cash And Equivalents                                                3,367.9          2,665.7     2,236.4    2,967.5
Restricted Cash                                                      155.3            120.2       146.8      158.6
Accounts Receivable                                                  515.4            652.8       569.9     1,155.0
Inventory                                                           2,263.5          2,565.8     3,324.6    3,314.1
Other Current Assets                                                 268.4            379.4       422.0      325.2
  Total Current Assets                                              6,570.5          6,383.9     6,699.8   7,920.49


Operating Lease Vehicles                                            4,116.6          2,315.1     2,282.0    2,186.1
Solar Energy Systems                                                6,347.5          6,346.4     6,340.0    6,301.5
Property and Equipment                                             10,027.5         10,519.2    10,969.3   11,246.3
Goodwill and Intangible Assets                                       421.7            407.7       364.7      356.7
MyPower Customer Notes                                               456.7            449.8       434.8      422.9
Restricted Cash                                                      441.7            433.8       400.0      396.8
Other Assets                                                          273.1            415.5       419.3      431.8
Total Assets                                                       28,655.4         27,271.4    27,910.0   29,262.7


LIABILITIES
Accounts Payable                                                    2,390.3          2,603.5     3,030.5    3,597.0
Accrued Liabilities                                                 1,731.4          1,898.4     1,815.0    1,990.1
Deferred Revenue                                                    1,015.3           536.5       576.3      570.9
Resale Value Guarantees                                              787.3            629.1       674.3      604.9
Customer Deposits                                                    853.9            984.8       942.1      905.8
Current Portion of LT Debt                                            896.5          1,998.0     2,103.2    2,106.5
Total Current Liabilities                                           7,674.7          8,650.4     9,141.4    9,775.3


Long-Term Debt                                                      9,418.3          8,763.7     9,513.4    9,672.6
Deferred Revenue                                                    1,177.8           818.3       795.8      950.1
Resale Value Guarantees                                             2,309.2           756.8       584.9      455.8
Other Liabilities                                                   2,443.0          2,561.9     2,607.5    2,555.3
Total Liabilities                                                  23,023.0         21,551.0    22,642.9   23,409.1


Total Shareholder Equity                                            5,632.4          5,720.4     5,267.1    5,853.6


Total Liabilities And Shareholders Equity                          28,655.4         27,271.4    27,910.0   29,262.7
Sources: Company Reports and Wedbush Securities, Inc. estimates




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Valuation
With $22 of earnings power by 2025 and our FCF projections of $5 billion by 2025 we believe a valuation of $440 is fair. At $440 Telsa
would trade at EV/Rev of 1.2x and EV/EBITDA of 9x.

Risks to the Attainment of Our Price Target and Rating:
-Potential capital raise to increase liquidity represents a potential overhang for Tesla.
-Meeting production targets on Model 3 will be key as any major bottleneck out of Fremont with have significant negative ramifications
for both growth and GM.
-The ongoing shareholder lawsuits and DOJ investigation represents a risk for investors given some of these wild cards.
-Tesla's ability to penetrate China as a market opportunity is key to its long-term growth and any regulatory and/or production issues
out of Gigafactory 3 would be a clear negative growth catalyst for the name.

Analyst Certification
We, Daniel Ives and Strecker Backe, certify that the views expressed in this report accurately reflect our personal opinions and that we
have not and will not, directly or indirectly, receive compensation or other payments in connection with our specific recommendations
or views contained in this report.

Mentioned Companies
 Company                                                        Rating                Price                Target
 Apple                                                   OUTPERFORM                 $169.10              $275.00
 Amazon.com                                              OUTPERFORM               $1,663.54             $2,100.00
 Alphabet                                                OUTPERFORM               $1,073.73             $1,350.00

Investment Rating System:
OUTPERFORM: Expect the total return of the stock to outperform relative to the median total return of the analyst's (or the analyst's
team) coverage universe over the next 6-12 months.
NEUTRAL: Expect the total return of the stock to perform in-line with the median total return of the analyst's (or the analyst's team)
coverage universe over the next 6-12 months.
UNDERPERFORM: Expect the total return of the stock to underperform relative to the median total return of the analyst's (or the
analyst's team) coverage universe of the next 6-12 months.
The Investment Ratings are based on the expected performance of a stock (based on anticipated total return to price target) relative
to the other stocks in the analyst's coverage universe (or the analyst's team coverage).*

 Rating distribution                                      Investment Banking Relationships
 (as of December 13, 2018)                                (as of December 13, 2018)
 OUTPERFORM: 60.29%                                       OUTPERFORM: 11.71%
 NEUTRAL: 38.53%                                          NEUTRAL: 1.53%
 UNDERPERFORM: 1.18%                                      UNDERPERFORM: 0.00%


The Distribution of Ratings is required by FINRA rules; however, WS' stock ratings of Outperform, Neutral, and Underperform most
closely conform to Buy, Hold, and Sell, respectively. Please note, however, the definitions are not the same as WS' stock ratings are
on a relative basis.
The analysts responsible for preparing research reports do not receive compensation based on specific investment banking activity.
The analysts receive compensation that is based upon various factors including WS' total revenues, a portion of which are generated
by WS' investment banking activities.

Company Specific Disclosures
1. WS makes a market in the securities of Apple, Amazon.com and Alphabet.

Price Charts




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                                                      Tesla Rating History as of 12-12-2018
                                                                 powered by: BlueMatrix

400

350

300

250

200

150

100
      Jan 16      Apr 16      Jul 16   Oct 16      Jan 17        Apr 17        Jul 17           Oct 17   Jan 18   Apr 18   Jul 18   Oct 18


                                                            Closing Price                 Price Target

                                          Outperform (OP); Neutral (N); Underperform (UP); Not Rated (NR)




                                                     Apple Rating History as of 12-12-2018
                                                                 powered by: BlueMatrix
       I:OP:$310.00    OP:$275.00
       10/18/2018      11/28/2018

350

300

250

200

150

100

 50
      Jan 16      Apr 16      Jul 16   Oct 16      Jan 17        Apr 17        Jul 17           Oct 17   Jan 18   Apr 18   Jul 18   Oct 18


                                                            Closing Price                 Price Target

                                          Outperform (OP); Neutral (N); Underperform (UP); Not Rated (NR)




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                                                          Amazon.com Rating History as of 12-12-2018
                                                                          powered by: BlueMatrix
            OP:$775.00       OP:$835.00      OP:$900.00    OP:$1,250.00      OP:$1,285.00      OP:$1,750.00    OP:$1,800.00   OP:$2,100.00
            04/28/2016       07/25/2016      07/28/2016    04/24/2017        10/27/2017        02/02/2018      04/27/2018     07/27/2018

   2,500


   2,000


   1,500


   1,000


    500


      0
           Jan 16        Apr 16     Jul 16       Oct 16      Jan 17        Apr 17        Jul 17       Oct 17        Jan 18    Apr 18     Jul 18   Oct 18


                                                                  Closing Price                Price Target

                                                  Outperform (OP); Neutral (N); Underperform (UP); Not Rated (NR)




                                                             Alphabet Rating History as of 12-12-2018
                                                                          powered by: BlueMatrix
            I:OP:$1,350.00
            10/16/2018

   1,400
   1,300
   1,200
   1,100
   1,000
    900
    800
    700
    600
           Jan 16        Apr 16     Jul 16       Oct 16      Jan 17        Apr 17        Jul 17       Oct 17        Jan 18    Apr 18     Jul 18   Oct 18


                                                                  Closing Price                Price Target

                                                  Outperform (OP); Neutral (N); Underperform (UP); Not Rated (NR)



Wedbush disclosure price charts are updated within the first fifteen days of each new calendar quarter per FINRA regulations. Price
charts for companies intiated upon in the current quarter, and rating and target price changes occurring in the current quarter, will not
be displayed until the following quarter. Additional information on recommended securities is available on request.
Disclosure information regarding historical ratings and price targets is available: http://www.wedbush.com/ResearchDisclosure/
DisclosureQ118.pdf
*WS changed its rating system from (Strong Buy/ Buy/ Hold/ Sell) to (Outperform/ Neutral/ Underperform) on July 14, 2009.
Please access the attached hyperlink for WS' Coverage Universe: http://www.wedbush.com/services/cmg/equities-division/research/
equity-research
Applicable disclosure information is also available upon request by contacting Leslie Lippai in the Research Department at (212)
833-1375, by email to leslie.lippai@wedbush.com, or the Business Conduct Department (213) 688-8090. You may also submit a written
request to the following: Business Conduct Department, 1000 Wilshire Blvd., Los Angeles, CA 90017.




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                                                         OTHER DISCLOSURES
The information herein is based on sources that we consider reliable, but its accuracy is not guaranteed. The information contaned
herein is not a representation by this corporation, nor is any recommendation made herein based on any privileged information. This
information is not intended to be nor should it be relied upon as a complete record or analysis: neither is it an offer nor a solicitation
of an offer to sell or buy any security mentioned herein. This firm, Wedbush Securities, its officers, employees, and members of their
families, or any one or more of them, and its discretionary and advisory accounts, may have a position in any security discussed herein
or in related securities and may make, from time to time, purchases or sales thereof in the open market or otherwise. The information
and expressions of opinion contained herein are subject to change without further notice. The herein mentioned securities may be
sold to or bought from customers on a principal basis by this firm. Additional information with respect to the information contained
herein may be obtained upon request.
Wedbush Securities does and seeks to do business with companies covered in its research reports. Thus, investors should be aware
that the firm may have a conflict of interest that could affect the objectivity of this report. Investors should consider this report as
only a single factor in making their investment decision. Please see pages 3–7 of this report for analyst certification and important
disclosure information.




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                                                                             Equity Research

                               CONSUMER AND RETAIL                                                                           HEALTHCARE
Consumer Data Analytics                                                                  Biotechnology
Jen Redding                     (212) 344-2386               jen.redding@wedbush.com     David Nierengarten, Ph.D. (415) 274-6862          david.nierengarten@wedbush.com
Footwear & Apparel                                                                       Biotechnology
Christopher Svezia              (212) 938-9922        christopher.svezia@wedbush.com     Robert Driscoll              (415) 274-6863            robert.driscoll@wedbush.com
Hardlines Retail                                                                         Emerging Pharmaceuticals
Seth Basham                     (212) 938-9954              seth.basham@wedbush.com      Liana Moussatos, Ph.D.       (415) 263-6626          liana.moussatos@wedbush.com
Homebuilders/Building Products
Jay McCanless                   (212) 833-1381             jay.mccanless@wedbush.com                                               TMT
Leisure                                                                                  Enterprise Software
James Hardiman                  (212) 833-1362          james.hardiman@wedbush.com       Dan Ives                     (212) 344-2073                    dan.ives@wedbush.com
Restaurants                                                                              Enterprise Software
Nick Setyan                     (213) 688-4519               nick.setyan@wedbush.com     Steve Koenig                 (415) 274-6801              steve.koenig@wedbush.com
                                                                                         Digital Media
                          FINANCIAL INSTITUTIONS GROUP                                   Michael Pachter              (213) 688-4474          michael.pachter@wedbush.com
Mid-Cap Banks                                                                            Digital Media
David Chiaverini                 (212) 938-9934         david.chiaverini@wedbush.com     Nick McKay                   (213) 688-4343                nick.mckay@wedbush.com
Regional Banks                                                                           Payments/IT Services
Peter Winter                     (212) 938-9941             peter.winter@wedbush.com     Moshe Katri                  (212) 938-9947               moshe.katri@wedbush.com
Specialty Finance                                                                        SMID Internet
Henry Coffey                     (212) 833-1382             henry.coffey@wedbush.com     Ygal Arounian                (212) 938-9929             ygal.arounian@wedbush.com



                                                                         RESEARCH MANAGEMENT
                                      Jesse Bigelow                                                                          Strecker Backe
                                  Director of Research                                                                Associate, Equity Research
                             jesse.bigelow@wedbush.com                                                              strecker.backe@wedbush.com
                                      (212) 259-6581                                                                         (212) 833-1367


                                                                             HEAD OF EQUITIES
                                                                               Kirsten Fraunces
                                                                        kirsten.fraunces@wedbush.com
                                                                                (213) 688-4404


                                                                            CORPORATE ACCESS
                                    Anita Minassian                                                                         Phylicia Kirven
                                  VP, Corporate Access                                                                   VP, Corporate Access
                         wedbush.conferences@wedbush.com                                                        equitycorporateaccess@wedbush.com
                                   (213) 688-4419                                                                          (213) 688-4455


                                                                                  TRADING
Consumer/Industrials                                                                     TMT
Tyler Pasley                    (213) 688-4466               tyler.pasley@wedbush.com    Joel Kulina               (212) 938-2056                   joel.kulina@wedbush.com
Financials/Healthcare
Sahak Manualian                 (213) 688-4533         sahak.manuelian@wedbush.com


                                                                             WEDBUSH OFFICES
                        LOS ANGELES                                             NEW YORK                                               SAN FRANCISCO
                   1000 Wilshire Boulevard                                  142 W 57th Street                                2 Embarcadero Center, Suite 600
                    Los Angeles, CA 90017                                   New York, NY 10019                                     San Francisco, CA 94111
                       (213) 688-8000                                         (212) 938-9920                                           (415) 273-7300
                                                  BOSTON                                                           CHICAGO
                                             265 Franklin Street                                    141 W. Jackson Boulevard, Suite 1710A
                                             Boston, MA 02110                                                  Chicago, IL 60604
                                              (617) 832-3700                                                    (312) 786-1930

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                                                                       UNITED STATES
                                                           SECURITIES AND EXCHANGE COMMISSION
                                                                                            Washington, D.C. 20549

                                                                                                 FORM 10-K
(Mark One)
☒         ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                                                                                     For the fiscal year ended December 31, 2017
                                                                                                            OR
☐         TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                                                                           For the transition period from                    to
                                                                                         Commission File Number: 001-34756



                                                                                             Tesla, Inc.
                                                                                 (Exact name of registrant as specified in its charter)

                                                 Delaware                                                                                                    XX-XXXXXXX
                                      (State or other jurisdiction of                                                                                     (I.R.S. Employer
                                     incorporation or organization)                                                                                      Identification No.)
                                       3500 Deer Creek Road
                                        Palo Alto, California                                                                                                   94304
                                (Address of principal executive offices)                                                                                      (Zip Code)
                                                                                                     (650) 681-5000
                                                                                (Registrant’s telephone number, including area code)
                                                                              Securities registered pursuant to Section 12(b) of the Act:
                                         Title of each class                                                                                Name of each exchange on which registered
                                    Common Stock, $0.001 par value                                                                              The NASDAQ Stock Market LLC
                                                                              Securities registered pursuant to Section 12(g) of the Act:
                                                                                                           None

     Indicate by check mark whether the registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities Act.     Yes ☒      No ☐
     Indicate by check mark if the registrant is not required to file reports pursuant to Section 13 or 15(d) of the Act.   Yes ☐   No ☒
     Indicate by check mark whether the registrant (1) has filed all reports required to be filed by Section 13 or 15(d) of the Securities Exchange Act of 1934 (“Exchange Act”) during the preceding 12 months (or
for such shorter period that the registrant was required to file such reports), and (2) has been subject to such filing requirements for the past 90 days. Yes ☒ No ☐
    Indicate by check mark whether the registrant has submitted electronically and posted on its corporate Web site, if any, every Interactive Data File required to be submitted and posted pursuant to Rule 405 of
Regulation S-T during the preceding 12 months (or for such shorter period that the registrant was required to submit and post such files). Yes ☒ No ☐
    Indicate by check mark if disclosure of delinquent filers pursuant to Item 405 of Regulation S-K (§229.405 of this chapter) is not contained herein, and will not be contained, to the best of registrant’s
knowledge, in definitive proxy or information statements incorporated by reference in Part III of this Form 10-K or any amendment to this Form 10-K. ☐
     Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, a smaller reporting company or an emerging growth company. See the definitions of “large
accelerated filer,” “accelerated filer,” “smaller reporting company” and “emerging growth company” in Rule 12b-2 of the Exchange Act:
Large accelerated filer                      ☒                                                                                                                          Accelerated filer                            ☐
Non-accelerated filer                        ☐ (Do not check if a smaller reporting company)                                                                            Smaller reporting company                    ☐
Emerging growth company                      ☐
    If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying with any new or revised financial accounting standards provided
pursuant to Section 13(a) of the Exchange Act. ☐
     Indicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Exchange Act).       Yes ☐     No ☒
     The aggregate market value of voting stock held by non-affiliates of the registrant, as of June 30, 2017, the last day of the registrant’s most recently completed second fiscal quarter, was $47.83 billion
(based on the closing price for shares of the registrant’s Common Stock as reported by the NASDAQ Global Select Market on June 30, 2017). Shares of Common Stock held by each executive officer, director,
and holder of 5% or more of the outstanding Common Stock have been excluded in that such persons may be deemed to be affiliates. This determination of affiliate status is not necessarily a conclusive
determination for other purposes.
     As of February 14, 2018, there were 168,919,941 shares of the registrant’s Common Stock outstanding.
                                                                                DOCUMENTS INCORPORATED BY REFERENCE
    Portions of the registrant’s Proxy Statement for the 2018 Annual Meeting of Stockholders are incorporated herein by reference in Part III of this Annual Report on Form 10-K to the extent stated herein.
Such proxy statement will be filed with the Securities and Exchange Commission within 120 days of the registrant’s fiscal year ended December 31, 2017.
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ITEM 7.          MANAGEMENT’S DISCUSSION AND ANALYSIS OF FINANCIAL CONDITION AND RESULTS OF OPERATIONS
       The following discussion and analysis should be read in conjunction with the consolidated financial statements and the related notes included
elsewhere in this Annual Report on Form 10-K.

Overview and 2017 Highlights
         Our mission is to accelerate the world’s transition to sustainable energy. We design, develop, manufacture, lease and sell high-performance fully
electric vehicles, solar energy generation systems and energy storage products. We also offer maintenance, installation, operation and other services related to
our products.

Automotive
         Our production vehicle fleet includes our Model S premium sedan and our Model X sport utility vehicle, which are our highest-performance vehicles,
and our Model 3, a lower priced sedan designed for the mass market which we began to produce and deliver in the second half of 2017. We continue to
enhance our vehicle offerings with enhanced autopilot options, Internet connectivity and free over-the-air software updates to provide additional safety,
convenience and performance features. In addition, we have several future electric vehicles in our product pipeline, including those we unveiled in 2017 – an
electric semi-truck and a new version of the Tesla Roadster.

        In 2017, our vehicle production capability continued to scale and gain operational efficiencies, and vehicle production volume increased by 20%
year-over-year. Additionally, we delivered 101,420 Model S and Model X vehicles and 1,764 Model 3 vehicles in 2017.

Energy Generation and Storage
        We lease and sell solar energy systems and sell renewable energy and energy storage products to our customers. We have partnered with Panasonic to
provide capital and operational support to manufacture PV cells, thus enabling high volume integrated tile and PV cell production at our Gigafactory 2 in
Buffalo, New York. We also recently commenced Solar Roof production at Gigafactory 2. Our energy storage products, which we manufacture at Gigafactory
1, consist of Powerwall mostly for residential applications and Powerpack for commercial, industrial and utility-scale applications.

       In late 2017, we completed installation of the largest battery in the world in South Australia. This battery delivers electricity during peak hours to
help maintain the reliable operation of South Australia’s electrical infrastructure.

        In 2017, we deployed 358 MWh of energy storage products and 523 MW of solar energy generation.

Management Opportunities, Challenges and Risks and 2018 Outlook
Automotive Demand, Production and Deliveries
        We drive demand for our vehicles by continually improving our vehicles through over-the-air software updates, expanding our retail, service and
charging infrastructure, and by periodically developing and introducing new passenger and commercial electric vehicle variants and models. Our goal is to
become the best manufacturer in the automotive industry, and having cutting edge robotic expertise in-house is at the core of that goal. Our recent
acquisitions of advanced automation companies have added to our talent base and are helping us increase vehicle production rates more effectively.

         The worldwide automotive market for alternative fuel vehicles and self-driving technology are highly competitive and we expect them to become
even more so. Many companies including established automakers have announced plans to expand, and in some cases fully transition to, production of
electric or environmentally friendly vehicles, and to also develop self-driving technologies. We welcome the acceleration of the world’s transition to
sustainable transport. Nonetheless, we believe that the unique features of our vehicles, our constant innovation, our growing brand, the increased
affordability introduced with Model 3, our global Supercharger network and our future vehicles, will continue to generate incremental demand for our
vehicles by making our vehicles accessible to larger and previously untapped consumer and commercial markets.


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                                                                       UNITED STATES
                                                           SECURITIES AND EXCHANGE COMMISSION
                                                                                            Washington, D.C. 20549

                                                                                                 FORM 10-K
(Mark One)
☒         ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                                                                                     For the fiscal year ended December 31, 2018
                                                                                                            OR
☐         TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                                                                           For the transition period from                    to
                                                                                         Commission File Number: 001-34756



                                                                                             Tesla, Inc.
                                                                                 (Exact name of registrant as specified in its charter)

                                                 Delaware                                                                                                    XX-XXXXXXX
                                      (State or other jurisdiction of                                                                                     (I.R.S. Employer
                                     incorporation or organization)                                                                                      Identification No.)
                                       3500 Deer Creek Road
                                        Palo Alto, California                                                                                                   94304
                                (Address of principal executive offices)                                                                                      (Zip Code)
                                                                                                     (650) 681-5000
                                                                                (Registrant’s telephone number, including area code)
                                                                              Securities registered pursuant to Section 12(b) of the Act:
                                         Title of each class                                                                                Name of each exchange on which registered
                                    Common Stock, $0.001 par value                                                                              The NASDAQ Stock Market LLC
                                                                              Securities registered pursuant to Section 12(g) of the Act:
                                                                                                           None

     Indicate by check mark whether the registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities Act.     Yes ☒      No ☐
     Indicate by check mark if the registrant is not required to file reports pursuant to Section 13 or 15(d) of the Act.   Yes ☐   No ☒
     Indicate by check mark whether the registrant (1) has filed all reports required to be filed by Section 13 or 15(d) of the Securities Exchange Act of 1934 (“Exchange Act”) during the preceding 12 months (or
for such shorter period that the registrant was required to file such reports), and (2) has been subject to such filing requirements for the past 90 days. Yes ☒ No ☐
     Indicate by check mark whether the registrant has submitted electronically every Interactive Data File required to be submitted pursuant to Rule 405 of Regulation S-T (§ 232.405 of this chapter) during the
preceding 12 months (or for such shorter period that the registrant was required to submit such files). Yes ☒ No ☐
    Indicate by check mark if disclosure of delinquent filers pursuant to Item 405 of Regulation S-K (§229.405 of this chapter) is not contained herein, and will not be contained, to the best of registrant’s
knowledge, in definitive proxy or information statements incorporated by reference in Part III of this Form 10-K or any amendment to this Form 10-K. ☐
     Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, a smaller reporting company or an emerging growth company. See the definitions of “large
accelerated filer,” “accelerated filer,” “smaller reporting company” and “emerging growth company” in Rule 12b-2 of the Exchange Act:
Large accelerated filer                      ☒                                                                                                                          Accelerated filer                            ☐
Non-accelerated filer                        ☐                                                                                                                          Smaller reporting company                    ☐
Emerging growth company                      ☐
    If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying with any new or revised financial accounting standards provided
pursuant to Section 13(a) of the Exchange Act. ☐
     Indicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Exchange Act).       Yes ☐     No ☒
     The aggregate market value of voting stock held by non-affiliates of the registrant, as of June 30, 2018, the last day of the registrant’s most recently completed second fiscal quarter, was $46.57 billion
(based on the closing price for shares of the registrant’s Common Stock as reported by the NASDAQ Global Select Market on June 30, 2018). Shares of Common Stock held by each executive officer, director,
and holder of 5% or more of the outstanding Common Stock have been excluded in that such persons may be deemed to be affiliates. This determination of affiliate status is not necessarily a conclusive
determination for other purposes.
     As of February 12, 2019, there were 172,721,487 shares of the registrant’s Common Stock outstanding.
                                                                                DOCUMENTS INCORPORATED BY REFERENCE
    Portions of the registrant’s Proxy Statement for the 2019 Annual Meeting of Stockholders are incorporated herein by reference in Part III of this Annual Report on Form 10-K to the extent stated herein.
Such proxy statement will be filed with the Securities and Exchange Commission within 120 days of the registrant’s fiscal year ended December 31, 2018.
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ITEM 7.         MANAGEMENT’S DISCUSSION AND ANALYSIS OF FINANCIAL CONDITION AND RESULTS OF OPERATIONS
       The following discussion and analysis should be read in conjunction with the consolidated financial statements and the related notes included
elsewhere in this Annual Report on Form 10-K.

Overview and 2018 Highlights
         Our mission is to accelerate the world’s transition to sustainable energy. We design, develop, manufacture, lease and sell high-performance fully
electric vehicles, solar energy generation systems and energy storage products. We also offer maintenance, installation, operation and other services related to
our products.

Automotive
         Our production vehicle fleet includes our Model S premium sedan and our Model X SUV, which are our highest-performance vehicles, and our
Model 3, a lower-priced sedan designed for the mass market. We continue to enhance our vehicle offerings with enhanced Autopilot options, internet
connectivity and free over-the-air software updates to provide additional safety, convenience and performance features. In addition, we have several future
electric vehicles in our product pipeline, including Model Y, Tesla Semi, a pickup truck and a new version of the Tesla Roadster.

        In 2018, we continued to scale our automotive operations, particularly our ramp of Model 3, and achieved total production of 254,530 vehicles and
delivered 245,506 vehicles, representing year-over-year increases of approximately 152% and 138%, respectively.

Energy Generation and Storage
        We lease and sell retrofit solar energy systems and sell renewable energy and energy storage products to our customers, and are ramping our Solar
Roof product that combines solar energy generation with attractive, integrated styling. Our energy storage products, which we manufacture at Gigafactory 1,
consist of Powerwall, mostly for residential applications, and Powerpack, for commercial, industrial and utility-scale applications.

       During 2018, we deployed 1.04 GWh of energy storage products, nearly tripling our 358 MWh of energy storage deployments during 2017. We also
deployed 326 megawatts (“MW”) of solar energy generation during 2018.

Management Opportunities, Challenges and Risks and 2019 Outlook
Automotive Demand, Production and Deliveries
         Our goal is to produce the world’s highest quality vehicles as quickly and as cost-effectively as possible with a priority on workplace health and
safety. The worldwide automotive markets for alternative fuel vehicles and self-driving technology are highly competitive and we expect them to become
even more so. A growing number of companies, including established automakers, have announced plans to expand, and in some cases fully transition to,
production of electric or environmentally friendly vehicles, and/or to develop self-driving technologies. However, we believe that the unique features of our
vehicles, the safety aspects of each of our vehicles, our constant innovation, our growing brand, the increased affordability introduced with Model 3, the
innovation and expansion of our global retail, service and charging operations and infrastructure and our future vehicles will continue to generate
incremental demand for our vehicles by making our vehicles accessible to larger and previously untapped consumer and commercial markets.

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April 2, 2017

Tesla Q1 2017 Vehicle Production and Deliveries
PALO ALTO, CA -- (Marketwired) -- 04/02/17 -- Tesla (NASDAQ: TSLA) delivered just over 25,000 vehicles in Q1, of which
approx 13,450 were Model S and approx 11,550 were Model X. This was a new quarterly record for us and represents a
69% increase over Q1 2016. Our delivery count should be viewed as slightly conservative, as we only count a car as
delivered if it is transferred to the customer and all paperwork is correct. Final numbers could vary by up to 0.5%.

In addition to Q1 deliveries, about 4,650 vehicles were in transit to customers at the end of the quarter. These will be
counted as deliveries in Q2 2017.

Q1 production totaled 25,418 vehicles. This was also a new quarterly record for us.

Tesla vehicle deliveries represent only one measure of the company's financial performance and should not be relied on as
an indicator of quarterly financial results, which depend on a variety of factors, including the cost of sales, foreign exchange
movements and mix of directly leased vehicles.

Source: Tesla, Inc.

News Provided by Acquire Media
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July 7, 2017

UPDATE - Tesla Q2 2017 Vehicle Production and Deliveries
PALO ALTO, Calif., July 07, 2017 (GLOBE NEWSWIRE) -- UPDATE: In response to questions we have received about the
number of customer vehicles in transit at the end of Q2, we are updating our Q2 delivery release to provide this information.
This information will continue to be included in all future quarters.

In addition to Q2 deliveries, about 3,500 vehicles were in transit to customers at the end of the quarter. These will be
counted as deliveries in Q3 2017.

Tesla (Nasdaq:TSLA) delivered just over 22,000 vehicles in Q2, of which just over 12,000 were Model S and just over
10,000 were Model X. This represents a 53% increase over Q2 2016. Total vehicle deliveries in the first half of 2017 were
approximately 47,100.

The major factor affecting Tesla's Q2 deliveries was a severe production shortfall of 100 kWh battery packs, which are
made using new technologies on new production lines. The technology challenge grows exponentially with energy density.
Until early June, production averaged about 40% below demand. Once this was resolved, June orders and deliveries were
strong, ranking as one of the best in Tesla history.

Provided global economic conditions do not worsen considerably, we are confident that combined deliveries of Model S and
Model X in the second half of 2017 will likely exceed deliveries in the first half of 2017.

Q2 production totaled 25,708 vehicles, bringing first half 2017 production to 51,126.

We always want our customers to experience the newest versions of Model S and X while their cars are in service, so we
added fully loaded, newly built cars to our service loaner fleet. We always want the service loaner Tesla to be *better* than
the customer car being serviced. The customer should never suffer for something that is our fault.

We also finally added a sufficient number of Model X cars to our test drive and display fleet because our stores had been
operating with far short of what was needed and, in some cases, none at all. There appears to be substantial untapped
sales potential for Model X. It should also be noted that production quality and field reliability of the Model X, for which Tesla
has been fairly criticized, have improved dramatically. It is now rare for a newly produced Model X to have initial quality
problems.

The first certified production Model 3 that meets all regulatory requirements will be completed this week, with a handover of
~30customer cars at our Fremont factory on July 28. More details to follow soon.

Our delivery count should be viewed as slightly conservative, as we only count a car as delivered if it is transferred to the
customer and all paperwork is correct. Final numbers could vary by up to 0.5%. Tesla vehicle deliveries represent only one
measure of the company's financial performance and should not be relied on as an indicator of quarterly financial results,
which depend on a variety of factors, including the cost of sales, foreign exchange movements and mix of directly leased
vehicles.

Forward-Looking Statements
Certain statements herein, including statements regarding future deliveries of Model S, Model X and Model 3, are "forward-
looking statements" that are subject to risks and uncertainties. These forward-looking statements are based on
management's current expectations. Various important factors could cause actual results to differ materially, including the
risks identified in our SEC filings. Tesla disclaims any obligation to update this information.

For additional information, please visit ir.tesla.com.

    Primary Logo




Source: Tesla, Inc.
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October 2, 2017

Tesla Q3 2017 Vehicle Deliveries and Production
PALO ALTO, Calif., Oct. 02, 2017 (GLOBE NEWSWIRE) -- In Q3, Tesla delivered 26,150 vehicles, of which 14,065 were
Model S, 11,865 were Model X, and 220 were Model 3. This was our all-time best quarter for Model S and X deliveries,
representing a 4.5% increase over Q3 2016, our previous best quarter, and a 17.7% increase over Q2 2017.

We had previously indicated that second half Model S and X deliveries would likely exceed first half deliveries of 47,077, but
we now expect to exceed that by several thousand vehicles. In total, we expect to deliver about 100,000 Model S and X
vehicles in 2017, which would be a 31% increase over 2016.

In addition to Q3 deliveries, about 4,820 Model S and X vehicles were in transit to customers at the end of the quarter.
These will be counted as deliveries in Q4 2017.

Q3 production totaled 25,336 vehicles, with 260 of them being Model 3. Model 3 production was less than anticipated due to
production bottlenecks. Although the vast majority of manufacturing subsystems at both our California car plant and our
Nevada Gigafactory are able to operate at high rate, a handful have taken longer to activate than expected.

It is important to emphasize that there are no fundamental issues with the Model 3 production or supply chain. We
understand what needs to be fixed and we are confident of addressing the manufacturing bottleneck issues in the near-
term.

Our delivery count should be viewed as slightly conservative, as we only count a car as delivered if it is transferred to the
customer and all paperwork is correct. Final numbers could vary by up to 0.5%. Tesla vehicle deliveries represent only one
measure of the company's financial performance and should not be relied on as an indicator of quarterly financial results,
which depend on a variety of factors, including the cost of sales, foreign exchange movements and mix of directly leased
vehicles.

Forward-Looking Statements
Certain statements herein, including statements regarding future deliveries of Model S and Model X and production of Model
3, are "forward-looking statements" that are subject to risks and uncertainties. These forward-looking statements are based
on management's current expectations. Various important factors could cause actual results to differ materially, including
the risks identified in our SEC filings. Tesla disclaims any obligation to update this information.




    Primary Logo




Source: Tesla, Inc.




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January 3, 2018

Tesla Q4 2017 Vehicle Production and Deliveries
PALO ALTO, Calif., Jan. 03, 2018 (GLOBE NEWSWIRE) -- In Q4, Tesla delivered 29,870 vehicles, of which 15,200 were
Model S, 13,120 were Model X, and 1,550 were Model 3. This was once again our all-time best quarter for combined Model
S and X deliveries, representing a 27% increase over Q4 2016, and a 9% increase over Q3 2017, our previous best
quarter.

In total, we exceeded our previously announced guidance by delivering 101,312 Model S and X vehicles in 2017. This was a
33% increase over 2016.

In addition to Q4 deliveries, about 2,520 Model S and X vehicles and 860 Model 3 vehicles were in transit to customers at
the end of the quarter. These will be counted as deliveries in Q1 2018.

Q4 production totaled 24,565 vehicles, of which 2,425 were Model 3. As we previously indicated, we slightly reduced Model
S and X production in Q4 because of the reallocation of some of the manufacturing workforce towards Model 3 production,
which also caused inventory to decline.

During Q4, we made major progress addressing Model 3 production bottlenecks, with our production rate increasing
significantly towards the end of the quarter. In the last seven working days of the quarter, we made 793 Model 3's, and
in the last few days, we hit a production rate on each of our manufacturing lines that extrapolates to over 1,000 Model 3's
per week. As a result of the significant growth in our production rate, we made as many Model 3's since December 9th as we
did in the more than four months of Model 3 production up to that point. This is why we were not able to deliver many of
these cars during the holiday season, just before the quarter ended. Model 3 deliveries to non-employee customers are
now accelerating rapidly, and we're confident our customers will love them.

As we continue to focus on quality and efficiency rather than simply pushing for the highest possible volume in the shortest
period of time, we expect to have a slightly more gradual ramp through Q1, likely ending the quarter at a weekly rate of
about 2,500 Model 3 vehicles. We intend to achieve the 5,000 per week milestone by the end of Q2.

We're very grateful to everyone at Tesla who has poured their heart and soul into helping with the Model 3 ramp and
creating the progress we are seeing. We're also very appreciative of our Model 3 customers, who continue to stick by us
while patiently waiting for their cars.

Our delivery count should be viewed as slightly conservative, as we only count a car as delivered if it is transferred to the
customer and all paperwork is correct. Final numbers could vary by up to 0.5%. Tesla vehicle deliveries represent only one
measure of the company's financial performance and should not be relied on as an indicator of quarterly financial results,
which depend on a variety of factors, including the cost of sales, foreign exchange movements and mix of directly leased
vehicles.

Forward-Looking Statements
Certain statements herein, including statements regarding future production of Model 3, are "forward-looking statements"
that are subject to risks and uncertainties. These forward-looking statements are based on management's current
expectations. Various important factors could cause actual results to differ materially, including the risks identified in our
SEC filings. Tesla disclaims any obligation to update this information.

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 Flash Note                                                                                                         Global Automotive
                                                                                                                               January 31, 2019
                                                                     Arndt Ellinghorst                       Chris McNally
 TESLA MOTORS, INC.                                                  +44 207 847 3501                        +44 207 847 3502
 TSLA | $308.77                                                      arndt.ellinghorst@evercoreisi.com       chris.mcnally@evercoreisi.com
 In Line | TARGET PRICE: $330.00                                     Max Yoward
 Commentary                                                          +44 207 847 3505
                                                                     max.yoward@evercoreisi.com



Leaving Intensive Care… Waiting for Revenues to Ramp
PM Summary - As always, something for the bulls and something for the bears in the TSLA Q4 report/conference call (definitely
less fireworks this time). Today, the bull/bear debate will be over the ‘19 outlook/cash generation while twitter will be mad with
conspiracy theories over the CFO retiring. We would expect this tug of war to be won by the bears this time (-5% after-hrs on
CFO retirement) and Tesla down on the open.
No recommendation change ($330 PT, In-Line) - Investors should stay on side-line to see how maturing S/X and Model 3 mix
dilution will play out. We also fear that increasing supply of more competitive EV product from peers will shape the industry
(please take a look at our latest VW MEB report here). As the EV market matures, the exclusiveness of the Tesla multiple might
evaporate. We’re not suggesting that Tesla as a brand or company necessarily will struggle but we do expect the severe
valuation gap to other leading/premium OEMs may converge over time. Our $330 PT represents ~7% upside from yesterday’s
share price and we doubt many investors would willingly take on the volatility that comes with the stock for this degree of upside.
For the risk/reward to get more interesting, we would need to apply our TP methodology to ‘22 metrics, when forecasts can
include a contribution from the Model Y (“targeted first production” Q4 ‘20 but not sold/produced in volume until 2021/2022).


For the Bears (should outweigh bull points):
   2019 delivery estimates (and implied Rev) disappointed by ~5-7%. 7k/wk production at Freemont will be achieved “by the
    end of the yr.” It appears the company no longer even targets 10k/wk Freemont as the new target is 500k (10k/wk) by
    “sometime between Q4 and Q2 ’20” through a combined Freemont/Shanghai (7k + 3k respectively).
   CFO (Deepak Ahuja) to retire and to be replaced by Zack Kirkhorn (previously VP Finance), but Zack’s age (34) and lack of
    work experience outside TSLA (graduated HBS six years ago) will raise eyebrows for whether he is fit for task.

   Model S/X – “slight decline YoY” given removal of 75Kwh option (expected).


For the Bulls (Q4 bright side, questions remain medium-term capital strategy):
   Cash is King (especially when you’re a stock which investors either think is going to $0 or $4,000) – TSLA ended the year
    with $3.7Bn cash on hand and $910MM Q4 FCF (both ~$300MM better than consensus on lower capex). In the statement
    and on the call they discussed “sufficient cash on hand to comfortably settle in cash our convertible bond that will mature in
    March 2019”.
   Q4 was another relatively solid EBIT Q ($414MM Income from Ops vs our/cons $359MM/ $344MM). Pls see Fig. 1 for full Q4
    reported vs EvrISI/Consensus.
   Model 3 consumers trading up? - 60% of trade-ins coming from non-premium.


…and somewhere in between
   Gigafactory Shanghai is “initially aiming for 3k Model 3s/week…sometime between Q4 of 2019 and Q2 of 2020.” Investors
    will clearly need to see it to believe it.
   Model Y (“design completed”), once again, was said to skip a “product reveal” but “this year we will start tooling…to achieve
    volume production by the end of ‘20”.




Please see the analyst certification and important disclosures on page 5 of this report. Evercore ISI and affiliates do and seek to do business with
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2019 Outlook vs our Model

   360-400k vehicles (We assume this is <300k Model 3s or <6k/wk avg production, and remainder is Model X/S) – this was
    lower than our/consensus 402k/395k and should lead to Rev estimates being revised ~5-7% lower.
   Model 3 non-GAAP GM target of 25% at “some point in 2019” – same “25% target” but timing consistent with our more
    conservative 22% FY’19 assumption (assuming low 20s ’18 exit rate, but lower priced Model 3 mix for FY19).

   “We are expecting to have + GAAP net income and positive FCF in every Q beyond Q1 2019” – compares to our/cons
    $600/$900MM ’19 FCF.


Elon-O-meter (on the conf call) – While clearly a more “normal” call than the Q2 fiasco, Elon continues to sound noticeably
somber/defense/awkward; including at one point off-the-cuff “350-500k Model 3s, something like that this year” when the official
total delivery guidance is only 360-400k. We miss inspirational Elon.


Figure 1: TSLA Reported vs EvrISIe/Consensus
                                                                                                                   Beat/(Miss)
TSLA Summary                                           17Q4        18Q4            EvrISIe           Cons
                                                                                                                    vs cons
                                                       $ (Mn)      $ (Mn)           $ (Mn)           $ (Mn)

Total Revenues                                         3,288       7,226            6,806            7,038            2.7%
YoY, %                                                            119.7%           107.0%           114.0%

Gross Profit                                            439        1,443            1,535            1,472            -2.0%
Margin, %                                          13.3%           20.0%            22.6%            20.9%

EBIT                                                   -598         414              360              344             20.3%
Margin, %                                          -18.2%          5.7%             5.3%             4.9%

Net Income                                             -771         139              185              195            -28.5%
EPS (non-GAAP)                                         -3.05        1.93             2.21             2.25


FCF                                                    -277         910              872              586             55.2%
Capex                                                  -787         -365             -644             -647           -43.6%

Model S/X Deliveries                               28,425          27,907           27,708           27,589           1.2%
Model 3 Deliveries                                     1,542       63,359           60,066           63,094           0.4%
Source: Company Data, Factset, Evercore ISI Research




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Figure 2: Premium vehicle sales in the US (2018)    Figure 3: Operating (EBIT) margin of premium carmakers




Source: TSLA                                        Source: TSLA



Figure 4: Model 3 trade-ins by vehicle type         Figure 5: GWh of energy storage deployed




Source: TSLA                                        Source: TSLA




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VALUATION METHODOLOGY
In general, we derive our target prices using industrial multiples, Sum of the Parts, EV/EBITDA and P/E, either in combination or
isolation. The exceptions are Ferrari (RACE) and Tesla (TSLA) where we also use DCF models. We consider automotive
valuations in a global context as well as relative to companies' own histories. We assess future earnings growth, operating
margins, free cash flow generation and returns on capital employed when determining whether a company is deserving of higher
or lower multiples.


RISKS
Automotive companies are global, cyclically exposed, highly complex businesses. As a result, they are exposed to both positive
and negative risks from broader political, economic and social factors. They also face both operational and execution risk, as well
as risks from changes in key personnel. Any failure to adequately assess exposure to such risks in a timely fashion may result in
our estimates/forecasts proving too high and/or too low.




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TIMESTAMP
(Article 3(1)e and Article 7 of MAR)
Time of dissemination: January 31 2019 04:57

ANALYST CERTIFICATION
The analysts, Max Yoward, Arndt Ellinghorst, Chris McNally, primarily responsible for the preparation of this research report attest to the
following: (1) that the views and opinions rendered in this research report reflect his or her personal views about the subject companies or
issuers; and (2) that no part of the research analyst’s compensation was, is, or will be directly related to the specific recommendations or views in
this research report.
The analysts, Max Yoward, Arndt Ellinghorst, Chris McNally are non-U.S. analysts who contributed to this research report. Non-U.S. analysts
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held by the analysts.

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The analysts and associates responsible for preparing this report receive compensation based on various factors, including Evercore Partners'
total revenues, a portion of which is generated by affiliated investment banking transactions. Evercore lSI seeks to update its research as
appropriate, but various regulations may prevent this from happening in certain instances. Aside from certain industry reports published on a
periodic basis, the large majority of reports are published at irregular intervals as appropriate in the analyst's judgment.
Evercore lSI generally prohibits analysts, associates and members of their households from maintaining a financial interest in the securities of
any company in the analyst's area of coverage. Any exception to this policy requires specific approval by a member of our Compliance
Department. Such ownership is subject to compliance with applicable regulations and disclosure. Evercore lSI also prohibits analysts, associates
and members of their households from serving as an officer, director, advisory board member or employee of any company that the analyst
covers.
This report may include a Tactical Call, which describes a near-term event or catalyst affecting the subject company or the market overall and
which is expected to have a short-term price impact on the equity shares of the subject company. This Tactical Call is separate from the analyst's
long-term recommendation (Outperform, In Line or Underperform) that reflects a stock's forward 12-month expected return, is not a formal rating
and may differ from the target prices and recommendations reflected in the analyst's long-term view.
Applicable current disclosures regarding the subject companies covered in this report are available at the offices of Evercore lSI, and
can be obtained by writing to Evercore Group LLC, Attn. Compliance, 666 Fifth Avenue, 11th Floor, New York, NY 10103.
Evercore Partners and its affiliates, and I or their respective directors, officers, members and employees, may have, or have had, interests or
qualified holdings on issuers mentioned in this report. Evercore Partners and its affiliates may have, or have had, business relationships with the
companies mentioned in this report.
Additional information on securities or financial instruments mentioned in this report is available upon request.


Ratings Definitions
Current Ratings Definition
Evercore lSI's recommendations are based on a stock's total forecasted return over the next 12 months. Total forecasted return is equal to the
expected percentage price return plus gross dividend yield. We divide our stocks under coverage into three primary ratings categories, with the
following return guidelines:
Outperform- the total forecasted return is expected to be greater than the expected total return of the analyst's coverage universe
In Line- the total forecasted return is expected to be in line with the expected total return of the analyst's universe
Underperform- the total forecasted return is expected to be less than the expected total return of the analyst's universe
Coverage Suspended- the rating and target price have been removed pursuant to Evercore lSI policy when Evercore is acting in an advisory
capacity in a merger or strategic transaction involving this company and in certain other circumstances.*
Rating Suspended- Evercore lSI has suspended the rating and target price for this stock because there is not sufficient fundamental basis for
determining, or there are legal, regulatory or policy constraints around publishing, a rating or target price. The previous rating and target price, if
any, are no longer in effect for this company and should not be relied upon.*
*Prior to October 10, 2015, the "Coverage Suspended" and "Rating Suspended" categories were included in the category "Suspended."
FlNRA requires that members who use a ratings system with terms other than "Buy," "Hold/Neutral" and "Sell" to equate their own
ratings to these categories. For this purpose, and in the Evercore lSI ratings distribution below, our Outperform, In Line, and
Underperform ratings can be equated to Buy, Hold and Sell, respectively.
Historical Ratings Definitions




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Prior to March 2, 2017, Evercore lSI's recommendations were based on a stock's total forecasted return over the next 12 months:
Buy- the total forecasted return is expected to be greater than 10%
Hold- the total forecasted return is expected to be greater than or equal to 0% and less than or equal to 10%
Sell -the total forecasted return is expected to be less than 0%
On October 31, 2014, Evercore Partners acquired International Strategy & Investment Group LLC ("lSI Group") and lSI UK (the "Acquisition") and
transferred Evercore Group's research, sales and trading businesses to lSI Group. On December 31, 2015, the combined research, sales and
trading businesses were transferred back to Evercore Group in an internal reorganization. Since the Acquisition, the combined research, sales
and trading businesses have operated under the global marketing brand name Evercore lSI.
lSI Group and lSI UK:
Prior to October 10, 2014, the ratings system of lSI Group LLC and lSI UK which was based on a 12-month risk adjusted total return:
Strong Buy- Return > 20%
Buy- Return 10% to 20%
Neutral - Return 0% to 10%
Cautious- Return -10% to 0%
Sell- Return< -10%
For disclosure purposes, lSI Group and lSI UK ratings were viewed as follows: Strong Buy and Buy equate to Buy, Neutral equates to Hold, and
Cautious and Sell equate to Sell.
Evercore Group:
Prior to October 10, 2014, the rating system of Evercore Group was based on a stock's expected total return relative to the analyst's coverage
universe over the following 12 months. Stocks under coverage were divided into three categories:
Overweight- the stock is expected to outperform the average total return of the analyst's coverage universe over the next 12 months.
Equal-Weight- the stock is expected to perform in line with the average total return of the analyst's coverage universe over the next 12 months.
Underweight -the stock is expected to underperform the average total return of the analyst's coverage universe over the next 12 months.
Suspended- the company rating, target price and earnings estimates have been temporarily suspended.
For disclosure purposes, Evercore Group's prior "Overweight," "Equal-Weight" and "Underweight" ratings were viewed as "Buy," "Hold" and
"Sell," respectively.
Ratings Definitions for Portfolio-Based Coverage
Evercore lSI utilizes an alternate rating system for companies covered by analysts who use a model portfolio-based approach to determine a
company's investment recommendation. Covered companies are included or not included as holdings in the analyst's Model Portfolio, and have
the following ratings:
Long- the stock is a positive holding in the model portfolio; the total forecasted return is expected to be greater than 0%.
Short- the stock is a negative holding in the model portfolio; the total forecasted return is expected to be less than 0%.
No Position- the stock is not included in the model portfolio.
Coverage Suspended- the rating and target price have been removed pursuant to Evercore lSI policy when Evercore is acting in an advisory
capacity in a merger or strategic transaction involving this company, and in certain other circumstances; a stock in the model portfolio is removed.
Rating Suspended - Evercore lSI has suspended the rating and/or target price for this stock because there is not sufficient fundamental basis for
determining, or there are legal, regulatory or policy constraints around publishing, a rating or target price. The previous rating and target price, if
any, are no longer in effect for this company and should not be relied upon; a stock in the model portfolio is removed.
Stocks included in the model portfolio will be weighted from 0 to 100% for Long and 0 to -100% for Short. A stock's weight in the portfolio reflects
the analyst's degree of conviction in the stock's rating relative to other stocks in the portfolio. The model portfolio may also include a cash
component. At any given time the aggregate weight of the stocks included in the portfolio and the cash component must equal100%.
Stocks assigned ratings under the alternative model portfolio-based coverage system cannot also be rated by Evercore lSI's Current Ratings
definitions of Outperform, In Line and Underperform.
FlNRA requires that members who use a ratings system with terms other than "Buy," "Hold/Neutral" and "Sell," to equate their own
ratings to these categories. For this purpose, and in the Evercore lSI ratings distribution below, our Long, No Position and Short
ratings can be equated to Buy, Hold and Sell respectively.


Evercore lSI rating (as of 31 January 2019)

Coverage Universe                                         Investment Banking Services I Past 12 Months
Ratings                           Count         Pct.      Ratings                      Count       Pct.
Buy                                 369          52       Buy                             236        64
Hold                                274          39       Hold                            132        48
Sell                                 41           6       Sell                             21        51
Coverage Suspended                   18           3       Coverage Suspended               15        83
Rating Suspended                      5           1       Rating Suspended                  1        20




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Issuer-Specific Disclosures 31 January 2019


Price Charts




Ratings Key
B     Buy            OP     Outperform               L      Long                 CS     Coverage Suspended
H     Hold           IL     In Line                  NP     No Position          RS     Rating Suspended
S     Sell           UP     Underperform             S      Short




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